       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 1 of 77



                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                 MDL No. 2323
INJURY LITIGATION
                                           Hon. Anita B. Brody

Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,                 Civ. Action No. 14-00029-AB
          Plaintiffs,

               v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


 CO-LEAD CLASS COUNSEL’S OMNIBUS REPLY MEMORANDUM IN FURTHER
      SUPPORT OF PETITION FOR AWARD OF ATTORNEYS’ FEES AND
REIMBURSEMENT OF EXPENSES, ADOPTION OF SET-ASIDE FROM MONETARY
 AND DERIVATIVE CLAIMANT AWRDS, AND CASE CONTRIBUTION AWARDS
FOR CLASS REPRESENTATIVES, AND IN OPPOSITION TO OBJECTORS’ CROSS-
      PETITIONS FOR AWARDS OF ATTORNEYS’ FEES AND EXPENSES
           Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 2 of 77



                                                 TABLE OF CONTENTS

I. INTRODUCTION ....................................................................................................................... 1

II. THE OBJECTIONS TO THE FEE PETITION ARE MERITLESS ......................................... 4

   A. Class Counsel’s Request for Attorneys’ Fees Is Not Premature ............................................ 4

   B. The Settlement Is Reliably Valued......................................................................................... 5

   C. The Percentage of Recovery Method Is the Proper First Analysis ........................................ 8

   D. Nothing Prevented the Alexander Objectors from Filing a Cross-Petition ......................... 11

   E. The Alexander Objectors’ Evidentiary Complaints Are Specious ....................................... 12

   F. The Proposed Lodestar Multiplier Is Eminently Reasonable ............................................... 14

   G. The “Mega-Fund” or Declining Percentage Theory Should Not Apply Here ..................... 16

III. THE REQUESTED FIVE PERCENT SET-ASIDE IS APPROPRIATE
     AND NECESSARY TO COMPENSATE COUNSEL WHO PERFORM
     COMMON BENEFIT WORK RELATED TO SETTLEMENT IMPLEMENTATION
     OVER THE SETTLEMENT’S 65-YEAR TERM ................................................................. 18

   A. Creation of the Separate 5% Set-Aside Fund....................................................................... 18

   B. Future Petitions for Awards to Reimburse Counsel for Post-Effective Date Common
      Benefit Work from the Set-Aside Fund ............................................................................... 23

   C. Post-Effective Date Common Benefit Work and Expenses to Be Covered
      by the Set-Aside Fund .......................................................................................................... 24

       1. Drafting and Dissemination of Supplemental Notices...................................................... 25

       2. Implementation Paperwork and Retention of Key Officers ............................................. 26

       3. Work to Ensure Class Member-Friendly Registration and Claims Processes .................. 26

       4. Efforts to Widely Spread Information to Class Members ................................................ 28

       5. Efforts to Combat the Dissemination of Misinformation to Class Members .................. 29

       6. Selection of Advisory Panel Members and Appeals Advisory Panel Consultants ........... 29




                                                                    i
         Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 3 of 77



    7. Selection and Orientation of Hundreds of Individuals to Serve as
       Qualified BAP Providers and Qualified MAF Physicians and Maintenance
       of These Physician Networks............................................................................................ 30

     8. Participation on Class Members’ Behalf in the Appeals Process ..................................... 31

     9. Monitoring the NFL Parties’ Funding of and Targeted Reserves for the Settlement ....... 32

    10. Establishing Procedures for and Participation in Periodic Audits of
         All Aspects of the Program, Including Medical Providers and Administrators ............ 32

    11. Replacing the Qualified BAP Providers and Qualified MAF Physicians, Appeals
        Advisory Panel Members, and Appeals Advisory Panel Consultants............................. 32

     12. Revisiting of the Science Every Ten Years .................................................................... 32

  D. Certain Objectors’ Suggestion That the Attorneys’ Fees Qualified Settlement
     Fund Is Sufficient to Compensate Counsel for All Post-Effective Date Common
     Benefit Work........................................................................................................................ 33

  E. Certain Objectors’ Suggestion That They Should Not Have to Pay for Post-Effective
     Date Common Benefit Work at All ..................................................................................... 34

IV. THE THREE OBJECTOR PETITIONS FOR ATTORNEY’S FEES ................................... 36

  A. The High Standards for Awarding Fees to Objectors .......................................................... 36

  B. The Three Objector Cross-Petitions ..................................................................................... 38

     1. The Faneca Objectors’ Petition......................................................................................... 38

        a. The Faneca Objectors Wrongly Take Credit for the Post-Hearing
           Modifications to the Settlement ................................................................................... 40

        b. The Faneca Objectors Overvalue the Post-Fairness Hearing Changes
           to the Settlement ........................................................................................................... 42

        c. The Fee Request Is Excessive ....................................................................................... 44

            (1) Most of the Faneca Objectors’ Work Should Not Be Compensated
                Because It Did Not Benefit the Class ..................................................................... 47

            (2) The Requested $20 Million Award Would Result in More Favorable
                Treatment of the Faneca Objectors Than of Class Counsel ................................... 53

     2. The Armstrong Objectors’ Petition................................................................................... 56


                                                                    ii
           Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 4 of 77




          a. The Armstrong Objectors’ Role Was Not Constructive ............................................... 57

          b. Causing Nearly Two Years of Delay Conferred No Benefit on the Class.................... 59

          c. The Armstrong Objectors Wrongly Take Credit for Three Post-Fairness Hearing
             Modifications to the Settlement ................................................................................... 61

       3. The Jones Objectors’ Petition ........................................................................................... 63

V. CONCLUSION ........................................................................................................................ 65




                                                                   iii
           Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 5 of 77



                                               TABLE OF AUTHORITIES


Cases

Alco Indus., Inc. v. Wachovia Corp.,
  527 F. Supp. 2d 399 (E.D. Pa. 2007) .......................................................................................... 6

Allapattah Servs., Inc. v. Exxon Corp.,
  454 F. Supp. 2d 1185 (S.D. Fla. 2006) ..................................................................................... 17

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) .................................................................................................................. 48

Armstrong v. Nat'l Football League,
  137 S. Ct. 607 (2016) ................................................................................................................ 40

Arnett v. Bank of Am., N.A.,
  No. 3:11-CV-1372-SI, 2014 WL 5419125 (D. Or. Oct. 22, 2014)........................................... 38

Azizian v. Federated Dep’t Stores, Inc.,
  No. C-03-3359 SBA, 2006 WL 4037549 (N.D. Cal. Sept. 29, 2006) .......................... 42, 47, 55

City of Burlington v. Dague,
  505 U.S. 557 (1992) .................................................................................................................. 15

Daubert v. Merrill Dow Pharms., Inc.,
  509 U.S. 579 (1993) ................................................................................................................ 1, 6

Decibus v. Woodbridge Twp. Police Dep’t,
  Civ. A. No. 88-2926, 1991 WL 59428 (D.N.J. Apr. 15, 1991) ................................................ 56

Dewey v. Volkswagen Aktiengesellschaft,
  558 F. App’x 191 (3d Cir. 2014) ................................................................................................ 8

Dewey v. Volkswagen of Am.,
  909 F. Supp. 2d 373 (D.N.J. 2012), aff'd, 558 F. App'x 191 (3d Cir. 2014) ...................... 37, 54

Dungee v. Davison Design & Development, No. 16-1486,
  __ F. App’x __, 2017 WL 65549 (3d Cir. Jan. 6, 2017) ............................................... 10, 14, 15

Faught v. Am. Home Shield Corp.,
  444 F. App’x 445 (11th Cir. 2011) ........................................................................................... 37

Finch v. Hercules Inc.,
  941 F. Supp. 1395 (D. Del. 1996) ............................................................................................. 56

Fraley v. Facebook, Inc.,No. C 11-1726 RS,
  2014 WL 806072 (N.D. Cal. Feb. 27, 2014) ............................................................................ 38
                                                                    iv
           Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 6 of 77



Great Neck Capital Appreciation Inv. P’ship, LP v. PricewaterhouseCoopers, LLP,
  212 F.R.D. 400 (E.D. Wis. 2002) ............................................................................................. 54

Hensley v. Eckerhart,
  461 U.S. 424 (1983) ............................................................................................................ 24, 56

In re Adelphia Commc’ns Corp. Sec. and Derivative Litig.,
   No. 03 MDL 1529, 2006 WL 3378705 (S.D.N.Y. Nov. 16, 2006) ......................................... 17

In re AOL Time Warner ERISA Litig.,
   No. 02 CV. 8853 (SWK), 2007 WL 4225486 (S.D.N.Y. Nov. 28, 2007) ................................ 47

In re AT&T Corp. Sec. Litig.,
   No. 00-5364 (GEB), 2006 WL 2786945 (D.N.J. Sept. 26, 2006) ...................................... 51, 63

In re Baby Products Antitrust Litig.,
   708 F.3d 163 (3d Cir. 2013)...................................................................................................... 10

In re Cardinal Health, Inc. Secs. Litig.,
   550 F. Supp. 2d 751 (S.D. Ohio 2008) ..................................................................................... 42

In re Cathode Ray Tube (CRT) Antitrust Litig.,
   MDL No. 1917, 2016 WL 6909680 (N.D. Cal. Oct. 24, 2016) ................................................ 46

In re Cendant Corp. PRIDES Litig.,
   243 F.3d 722 (3d Cir. 2001)............................................................................................ 8, 15, 37

In re Cendant Corp. Sec. Litig.,
   404 F.3d 173 (3d Cir. 2005)................................................................................................ 37, 38

In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig.,
   No. 3:08-MD-01998, 2010 WL 3328249 (W.D. Ky. Aug. 24, 2010) ...................................... 41

In re Currency Conversion Fee Antitrust Litig.,
   263 F.R.D. 110 (S.D.N.Y. 2009) .............................................................................................. 41

In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig.,
   No. 1203, 2002 WL 32154197 (E.D. Pa. Oct. 3, 2002)................................................ 20, 37, 63

In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig.,
   MDL No. 1203, 2011 WL 2174611 (E.D. Pa. June 2, 2011) ................................................... 20

In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig.,
   582 F.3d 524 (3d Cir. 2009)................................................................................................ 22, 58

In re Domestic Air Transp. Antitrust Litig.,
   144 F.R.D. 421 (N.D. Ga. 1992)............................................................................................... 50



                                                                   v
           Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 7 of 77



In re Domestic Air Transp. Antitrust Litig.,
   148 F.R.D. 297 (N.D. Ga. 1993)............................................................................................... 45

In re Excess Value Ins. Coverage Litig.,
   598 F. Supp. 2d 380 (S.D.N.Y. 2005)....................................................................................... 41

In re Fine Paper Antitrust Litig.,
   751 F.2d 562 (3d Cir. 1984)...................................................................................................... 55

In re Freddie Mac Sec. Litig.,
   No. 03-CV-4261 (JES) (S.D.N.Y. Oct. 27, 2006) .................................................................... 17

In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig.,
   55 F.3d 768 (3d Cir. 1995)...................................................................................................... 5, 9

In re Heartland Payment Sys., Inc. Customer Data Sec. Breach Litig.,
   851 F. Supp. 2d 1040 (S.D. Tex. 2012) ...................................................................................... 8

In re Ikon Office Solutions, Inc., Secs. Litig.,
   194 F.R.D. 166 (E.D. Pa. 2000) .......................................................................................... 16, 54

In re Ins. Brokerage Antitrust Litig.,
   579 F.3d 241 (3d Cir. 2009)...................................................................................................... 15

In re Linerboard Antitrust Litig.,
   No. 98-5055, 2004 WL 1221350 (E.D. Pa. June 2, 2004) ........................................................ 16

In re MetLife Demutualization Litig.,
   689 F. Supp. 2d 297 (E.D.N.Y. 2010) ...................................................................................... 46

In re NASDAQ Mkt.-Makers Antitrust Litig.,
   187 F.R.D. 465 (S.D.N.Y. 1998) .............................................................................................. 18

In re New Motor Vehicles Canadian Exp. Antitrust Litig.,
   842 F. Supp. 2d 346 (D. Me. 2012) .......................................................................................... 42

In re Nat'l Football League Players’ Concussion Injury Litig.,
   821 F.3d 410 (3d Cir. 2016)............................................................................................... passim

In re Nat'l Football League Players’ Concussion Injury Litig.,
   307 F.R.D. 351 (E.D. Pa. 2015) ......................................................................................... passim

In re Nat'l Football League Players’ Concussion Injury Litig.,
   775 F.3d 570 (3d Cir. 2014)...................................................................................................... 50

In re Penn Cent. Secs. Litig.,
   560 F.2d 1138 (3d Cir. 1977).................................................................................................... 33



                                                                  vi
          Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 8 of 77



In re Polyurethane Foam Antitrust Litig.,
   169 F. Supp. 3d 719 (N.D. Ohio 2016)..................................................................................... 41

In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions,
   148 F.3d 283 (3d Cir. 1998)............................................................................................... passim

In re Prudential Ins. Co. of Am. Sales Practices Litig.,
   273 F. Supp. 2d 563 (D.N.J. 2003), aff'd, 103 F. App'x 695(3d Cir. 2004) ....................... 45, 46

In re Puerto Rican Cabotage Antitrust Litig.,
   815 F. Supp. 2d 448 (D.P.R. 2011)........................................................................................... 45

In re Qwest Commc’ns Int’l, Inc. Sec. Litig.,
   No. 01-CV-01451-REB-CBS, 2007 WL 2087536 (D. Colo. July 17, 2007) ........................... 38

In re Rite Aid Corp. Secs. Litig.,
   362 F. Supp. 2d 587 (E.D. Pa. 2005) ........................................................................................ 17

In re Rite Aid Corp. Secs. Litig.,
   396 F.3d 294 (3d Cir. 2005)................................................................................................ 12, 16

In re Riverstone Networks, Inc.,
   256 F. App’x 168 (9th Cir. 2007) ............................................................................................. 45

In re Royal Ahold N.V. Sec. & ERISA Litig.,
   461 F. Supp. 2d 383 (D. Md. 2006) .......................................................................................... 17

In re TFT-LCD (Flat Panel) Antitrust Litig.,
   No. M 07-1827 SI, 2013 WL 1365900 (N.D. Cal. Apr. 3, 2013), appeal dismissed,
   No. 13-16216 (9th Cir. June 12, 2014) ............................................................................... 17, 37

In re Tyco Int'l, Ltd. Multidist. Litig.,
   535 F. Supp. 2d 249 (D.N.H. 2007) .......................................................................................... 17

Institutionalized Juveniles v. Sec’y of Pub. Welfare,
  758 F.2d 897 (3d Cir. 1985)...................................................................................................... 55

Jackson v. Wells Fargo Bank, N.A.,
  136 F. Supp. 3d 687 (W.D. Pa. 2015) ......................................................................................... 8

King Drug Co. of Florence v. Cephalon,
  No. 06-cv-01797-MSP, 2015 WL 12843830 (E.D. Pa. Oct. 15, 2015) .................................... 17

Lan v. Ludrof,
  No. 1:06CV114-SJM, 2008 WL 763763 (W.D. Pa. Mar. 21, 2008) ........................................ 54

Landsman & Funk, P.C. v. Skinder-Strauss Assocs.,
  639 F. App’x 880 (3d Cir. 2016) ................................................................................................ 5

                                                                 vii
          Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 9 of 77



Lawrence E. Jaffe Pension Plan v. Household Int'l, Inc.,
  No. 02-C05893 (N.D. Ill. Nov. 10, 2016) ................................................................................. 17

Lobur v. Parker,
  378 F. App’x 63 (2d Cir. 2010) ................................................................................................ 46

Lonardo v. Travelers Indem. Co.,
  706 F. Supp. 2d 766 (N.D. Ohio 2010)..................................................................................... 53

MacFarland v. U.S. Fid. & Guar. Co.,
 818 F. Supp. 108 (E.D. Pa. 1993) ............................................................................................... 6

Mars Steel Corp. v. Cont’l Ill. Nat’l Bank & Trust Co. of Chicago,
 834 F.2d 677 (7th Cir. 1987) .................................................................................................... 50

Martin v. Foster Wheeler Energy Corp.,
 No. 3:06-CV-0878, 2008 WL 906472 (M.D. Pa. Mar. 31, 2008) ............................................ 38

Masters v. Wilhelmina Model Agency, Inc.,
 473 F.3d 423 (2d Cir. 2007)........................................................................................................ 5

McDonough v. Toys R Us, Inc.,
 80 F. Supp. 3d 626 (E.D. Pa. 2015) .................................................................................... 36, 37

Milligan v. Toyota Motor Sales, U.S.A., Inc.,
  No. C 09-05418 RS, 2012 WL 10277179 (N.D. Cal. Jan. 6, 2012) ......................................... 48

Mirfasihi v. Fleet Mortg. Corp.,
  551 F.3d 682 (7th Cir. 2008) .................................................................................................... 51

Mirfasihi v. Fleet Mortg. Corp.,
  No. 01 C722, 2007 WL 2608778 (N.D. Ill. Sept. 6, 2007) ................................................. 38, 46

Newman v. Stein,
  58 F.R.D. 540 (S.D.N.Y. 1973) ................................................................................................ 36

Park v. Thomson Corp.,
  633 F. Supp. 2d 8 (S.D.N.Y. 2009) .................................................................................... 46, 54

Parker v. Time Warner Entm’t Co.,
  631 F. Supp. 2d 242 (E.D.N.Y. 2009) ...................................................................................... 46

Patriot Party of Pa. v. Mitchell,
  No. CIV. A. 93-2257, 1993 WL 313667 (E.D. Pa. Aug. 16, 1993) ......................................... 56

Pawlak v. Greenwalt,
  713 F.2d 972 (3d Cir. 1983)...................................................................................................... 12



                                                                viii
          Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 10 of 77



Pennsylvania v. Del. Valley Citizen’s Counsel for Clean Air,
  478 U.S. 546 (1992) .................................................................................................................. 15

Perdue v. Kenny A. ex. Rel. Winn,
  559 U.S. 543 (2010) .................................................................................................................. 15

Priceline.com, Inc. v. Silberman,
  405 F. App’x 532 (2d Cir. 2010) .............................................................................................. 41

Radcliffe v. Experian Info. Sols. Inc.,
  715 F.3d 1157 (9th Cir. 2013) .................................................................................................. 33

Rankin v. McPherson,
  483 U.S. 378 (1987) .................................................................................................................... 3

Reynolds v. Beneficial Nat’l Bank,
  288 F.3d 277 (7th Cir. 2002) .................................................................................................... 38

Sch. Dist. of Philadelphia v. Deborah A.,
  No. 08-2924, 2011 WL 2681234 (E.D. Pa. July 8, 2011) ........................................................ 56

Shaw v. Toshiba Am. Info. Sys., Inc.,
  91 F. Supp. 2d 942 (E.D. Tex. 2000) ........................................................................................ 18

Sobel v. Hertz Corp.,
  53 F. Supp. 3d 1319 (D. Nev. 2014) ......................................................................................... 47

Spark v. MBNA Corp.,
  289 F. Supp. 2d 510 (D. Del. 2003) .............................................................................. 38, 45, 63

Spencer v. Wal-Mart Stores, Inc.,
  No. 03-104-KAJ, 2005 WL 3654381 (D. Del. June 24, 2005), aff'd, 469 F.3d 311
  (3d Cir. 2006) ............................................................................................................................ 56

Student Pub. Interest Research Grp. of N.J., Inc. v. AT&T Bell Labs,
  842 F.2d 1436 (3d Cir. 1988).................................................................................................... 15

Sullivan v. DB Invs., Inc.,
  667 F.3d 273 (3d Cir. 2011)...................................................................................................... 49

Vasquez v. S.S. Pennock Co., Civ. A.,
  No. 86-2288, 1987 WL 9781 (E.D. Pa. Apr. 21, 1987) ............................................................ 56

Waters v. Int’l Precious Metals Corp.,
 190 F.3d 1291 (11th Cir. 1999) .................................................................................................. 5

Williams v. MGM-Pathe Commc’ns Co.,
  129 F.3d 1026 (9th Cir. 1997) .................................................................................................... 5

                                                                      ix
          Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 11 of 77



Zawikowski v. Beneficial Nat’l Bank,
  No. 98 C 2178, 2001 WL 290402 (N.D. Ill. Mar. 22, 2001) .................................................... 41

Statutes

28 U.S.C. § 2101(c) ...................................................................................................................... 60

42 U.S.C. § 1988 ........................................................................................................................... 15

Rules

Fed. R. App. P. 42(b) .................................................................................................................... 51

Fed. R. Civ. P. 23(e) ..................................................................................................... 7, 49, 50, 64

Fed. R. Civ. P. 23(e)(2) ................................................................................................................. 39

Fed. R. Civ. P. 23(f) .................................................................................................................. 7, 50

Other Authorities

Annotated Manual for Complex Litigation, Fourth (rev. ed. 2016) ....................................... 38, 50

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  Newberg on Class Actions (5th ed. 2015)..................................................................... 19, 22, 52




                                                                      x
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 12 of 77



I. INTRODUCTION

       In accordance with the Court’s March 8, 2017 Order (ECF No. 7261), Co-Lead Class

Counsel respectfully submit this omnibus memorandum (1) in reply to the objections raised in

opposition to their petition for an award of common benefit attorneys’ fees and reimbursement of

common benefit expenses and for adoption of a five-percent set-aside from Monetary and

Derivative Claimant Awards for purposes of creating available funds to compensate Class

Counsel for work performed in implementing the Settlement 1; and (2) in opposition to cross-

petitions for awards of attorneys’ fees and expenses that were filed by three groups of objectors

who had unsuccessfully battled the Settlement.

       Notably, there are few objections despite the fact that this Settlement was scrutinized by

hundreds of lawyers on behalf of thousands of individually-represented Class Members. The

few objections to the requested $112.5 million common benefit fee and expense award are

completely without merit. Many of them are inane evidentiary objections that Class Counsel’s

expert’s valuation of the Settlement’s benefits does not pass muster under Daubert and the

assertion that partners who were involved in this litigation and submitted Declarations attesting

to their firms’ respective common benefit work lack personal knowledge to make such

averments.

       The litany of makeweight objections is long, including: (1) the argument that the

percentage of recovery method is inapplicable, even though this is plainly not a statutory fee-

shifting case; (2) backdoor attacks on the Settlement’s fairness and adequacy by claiming that the


       1
         This memorandum adopts the shorthand definitions employed in the Memorandum of
Law in Support of Co-Lead Class Counsel’s Petition for an Award of Attorneys’ Fees,
Reimbursement of Costs and Expenses, Adoption of a Set-Aside of Each Monetary Award and
Derivative Claimant Award, and Case Contribution Awards for Class Representatives (ECF No.
7151-1). Certain shorthand terms used in this Introduction are defined below.

                                                 1
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 13 of 77



class gains are not real; (3) claims that “mega-funds” require a lower fee structure, even though

the requested fee is in line with comparable cases; (4) the assertion that the proposed multiplier

of 2.6 is too high, even though it is well within Third Circuit norms; (5) a demand that Class

Counsel receive compensation on a claims-made basis, despite the fund being uncapped for the

65-year lifetime of the benefits; and (6) the assertion that Class Counsel did little to benefit the

Class, notwithstanding this Court’s express findings on adequacy of representation.

       In all, the meritless objections of a few die-hard objectors who fought the Settlement

almost to the very end provide no genuine basis for denying the petition or for reducing the

requested award. 2

       Equally meritless are the arguments against the Court’s adoption of the proposed 5% set-

aside. To begin with, many (if not most) of these objections are simply lawyer-driven. For

represented Class Members, the holdback will be deducted only from their counsel’s fees.

Individual counsel simply dread the prospect of surrendering any portion of their fees – which

they will earn, in large measure, only as a result of Class Counsel’s efforts in achieving and

successfully defending the Settlement.

       At any rate, as already spelled out in the opening papers and further developed below, a

great deal of common benefit work to roll out the Settlement has already been performed and a

great deal more will be necessary to ensure the proper implementation and smooth functioning of

the Settlement over its lengthy term of 65 years. That work will include not only assisting Class

Members (and, where applicable, their individual counsel), but also ongoing input into the

composition of the bodies that will play a central role in the Settlement’s implementation,


       2
        No objector has challenged the requested Case Contribution (i.e., incentive or service)
Awards for the three Subclass Representatives. Accordingly, that request should be deemed
unopposed.

                                                 2
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 14 of 77



including the MAF and BAP physicians and the Appeals Advisory Panel and its Consultants.

Given the Settlement’s lengthy term, there will be a regular need to replenish the membership of

those bodies.

       Besides that, adequate funds will be needed to incentivize lawyers down the road to get

up to speed on the history of this litigation, the Settlement’s details, and what will by then be the

history of the Settlement’s effectuation in order to step into the shoes of Class Counsel. Where a

settlement will last for nearly seven decades – and pay claims throughout that time – common

sense alone should suggest that such transitioning will need to occur multiple times.

       Moreover, it is unfair and unreasonable for objectors to maintain that 65 years’ worth of

future common benefit work should be paid for out of the common benefit fee award that Class

Counsel are seeking from the Attorneys’ Fees Qualified Settlement Fund, whose purpose is to

compensate Class Counsel for all their work in securing the Settlement in the first place.

       No more convincing are certain objectors’ complaints that it is unfair to ask Class

Members who already had Qualifying Diagnoses to contribute a set-aside. To the contrary, it

would be unfair not to have those Class Members chip in their fair share to ensure that all Class

Members realize the maximum benefits to which they are entitled under the Settlement.

       Finally, there are the three objector cross-petitions for fees. Let us be clear. These are

objectors who tried to scuttle the Settlement and whose intervention was primarily aimed at

having settlement benefits denied to the entire Class. They are entitled to nothing. They chose

which side of the “v.” to appear on and fees are awarded to parties that prevail, not those that

stand in the way of prevailing. As Justice Scalia once colorfully put it, one may not “ride with

the cops and cheer for the robbers.” Rankin v. McPherson, 483 U.S. 378, 394 (1987) (Scalia, J.,

dissenting). Even on their own terms, these objectors seek wildly inflated awards, claiming



                                                 3
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 15 of 77



responsibility for settlement modifications that were, in most instances, the initiative of this

Court, and claiming compensation for hours spent of trying (unsuccessfully) to derail the deal.

II. THE OBJECTIONS TO THE FEE PETITION ARE MERITLESS

   A. Class Counsel’s Request for Attorneys’ Fees Is Not Premature

       The Alexander Objectors 3 assert that the final value of the Settlement is “speculative”

and “based on unrealistic assumptions” at this point and urge the Court to defer consideration of

attorneys’ fees until actual payments are drawn from the Settlement Fund. 4 E.g., ECF No. 7355,

at 6-10 (Alexander Objectors); ECF No. 7161, at 7-9 (Objector Miller); ECF No. 7370, at 1

(Objector Anderson). 5 This claim is simply an attempt to rehash the arguments, already rejected

by this Court and the Third Circuit, that the Settlement is of no benefit to the Class. The record

amply supports the value of the Settlement, as determined by this Court. The fact that the payout

will continue over 65 years does not prevent attorneys’ fees from being paid on the value of the

benefits available for the Class to claim, not on the value of benefits already claimed. E.g.,




       3
         The so-called Alexander Objectors purport to be a 16-member remnant (see ECF No.
7355-1, at 1) of a group of what were formerly 38 objectors who had unsuccessfully appealed
this Court’s Final Approval decision to the Third Circuit (see ECF No. 6552). The lead objector
and namesake of this faction, Liyongo Patrise Alexander, no longer appears to be among their
ranks.
       4
         The Alexander Objectors complain that attorneys will be paid before players are. ECF
No. 7355, at 1-3. Given that the Settlement will run for 65 years, it is inevitable that some
attorneys will be compensated before many Class Members are. Unfortunately, major obstacles
to an earlier distribution of benefits to Class Members were the multiple (and utterly meritless)
objector appeals, which consumed much time while producing no benefit to Class Members.
Counsel for the Alexander Objectors should be aware of this, having been in the thick of that
wasteful endeavor. E.g., ECF No. 6552 (Alexander Objectors’ notice of appeal).
       5
           Unless otherwise noted, citations to objections and to Co-Lead Class Counsel’s
opening memorandum in support of the fee petition (ECF No. 7151-1) are to the pages of the
original document, not the ECF pagination.

                                                4
        Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 16 of 77



Landsman & Funk, P.C. v. Skinder-Strauss Assocs., 639 F. App’x 880, 884 (3d Cir. 2016). 6 In

awarding fees under a common fund theory, the Court need not determine the value of the fund

with absolute specificity. Rather, it is enough to make a “reasonable assessment” of the fund’s

value. In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 822

(3d Cir. 1995); accord In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148

F.3d 283, 334 (3d Cir. 1998) (“reasonable estimate” suffices). As further discussed below,

because Class Plaintiffs provided a reasonable estimate of the Settlement’s value, in the form of

their actuarial expert’s assessment – which this Court accepted in approving the Settlement – the

instant petition is ripe. 7

    B. The Settlement Is Reliably Valued

        Objectors contend that “[t]here is no non-speculative data to support the computation of

the ‘size of the fund’” and that “the monetary value of the Monetary Fund Award [sic] is

unknown.” ECF No. 7355, at 3, 23; ECF No. 7161, at 2. These arguments are essentially

recycled attacks on the Settlement itself, inasmuch as they question the adequacy of assumptions

and calculations made by the Settling Parties in negotiating the Settlement, by this Court in


        6
          Accord Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423, 437 (2d Cir. 2007)
(“An allocation of fees by percentage should therefore be awarded on the basis of the total funds
made available, whether claimed or not.”); Waters v. Int’l Precious Metals Corp., 190 F.3d 1291,
1295, 1297-98 (11th Cir. 1999) (“[N]o case has held that a district court must consider only the
actual payout in determining attorneys’ fees.”); Williams v. MGM-Pathe Commc’ns Co., 129
F.3d 1026, 1027 (9th Cir. 1997) (per curiam) (“”[T]he district court abused its discretion by
basing the fee on the class members’ claims against the fund rather than on a percentage of the
entire fund.”) (footnote omitted).
        7
         Some objectors argue that attorneys who receive common benefit funds should not be
able to receive money from individual Class Member clients under their individual retainer
agreements. E.g., ECF No. 7370, at 3 (“The Court should void all individual fee contracts where
the attorney representing a class member is also receiving a portion of the common benefit
attorney’s fees.”). This issue has been addressed in a separate brief filed by The Locks Law
Firm (ECF No. 7463).

                                               5
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 17 of 77



approving the Settlement, and the Third Circuit in affirming this Court’s approval decision. The

contention that Class Counsel have not provided this Court with adequate valuation data – after

the Court thoroughly reviewed these data, received and evaluated substantial briefing before the

Fairness Hearing, conducted an extensive Fairness Hearing, received and evaluated post-Fairness

Hearing briefing, and approved the Settlement based upon it – is simply untenable. The Court

made its findings with respect to the Settlement’s valuation and raising the same issue is an

impermissible collateral attack on this Court’s earlier rulings. 8

       As the Court stated, “[t]he Settlement value has been the subject of extensive medical and

statistical analysis. It was negotiated on the basis of “actuarial data and analyses performed by

[the] economic experts” – separate actuarial teams retained by Class Counsel and the NFL –

under the supervision of Special Master Golkin. In re NFL Players’ Concussion Injury Litig.,

307 F.R.D. 351, 364 (E.D. Pa. 2015). Thus, the Court has already acknowledged that the value



       8
          The Alexander Objectors challenge the report of Dr. Thomas Vasquez, Plaintiffs’
actuarial expert, on Daubert grounds. See ECF No. 7355, at 25 n.19 (citing Daubert v. Merrill
Dow Pharms., Inc., 509 U.S. 579 (1993)). Setting aside that they improperly relegate such a
significant challenge to a footnote, cf. MacFarland v. U.S. Fid. & Guar. Co., 818 F. Supp. 108,
111 (E.D. Pa. 1993) (“[B]ecause this argument has been relegated to footnote status . . . we do
not see the need to address [it].”), any Daubert challenge to Dr. Vasquez’s report should have
been made at the Fairness Hearing. That was not done. In a different context, a Daubert-type
challenge was belatedly raised to the Third Circuit regarding Plaintiffs’ medical experts, after the
Fairness Hearing. The Third Circuit rejected it as both waived and as lacking any merit, noting
that it “ha[s] never held that district courts considering the fairness of a class action settlement
should consider the admissibility of expert evidence under Daubert.” In re Nat’l Football
League [“NFL”] Players Concussion Injury Litig., 821 F.3d 410, 442, 443 (3d Cir. 2016). The
Alexander Objectors do not address why they failed to assert a Daubert challenge to Dr.
Vasquez’s calculations at the Fairness Hearing. Much less do they provide a rationale for why a
Daubert inquiry is necessary for a court’s adjudication of a fee petition, which will not be
decided by a jury. Cf. Alco Indus., Inc. v. Wachovia Corp., 527 F. Supp. 2d 399, 405 (E.D. Pa.
2007) (“In the context of preparing for a bench trial, it is not necessary to apply the Daubert
standard with full force in advance of trial.”). They certainly offer not a scintilla of authority
holding that a Daubert inquiry is required at the fee petition stage.



                                                   6
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 18 of 77



of the Settlement has been reasonably estimated. 9 As previously established, Class Counsel

secured a benefit 10 of nearly $1.2 billion for the Class:

BENEFIT                            AMOUNT/VALUE              SOURCE
Monetary Award Fund                $950,000,000              ECF No. 6167, at 4
                                                             (NFL Concussion Liability Forecast)
Baseline Assessment Program        $75,000,000               Settlement § 23.1(b)
Education Fund                     $10,000,000               Settlement § 23.1(c)
Notice Costs                       $4,000,000                Settlement § 14.1(b)
Claims Administration              $11,925,000               Decl. of Orran Brown, Sr.
Attorneys’ Fees Provision          $112,500,000              Settlement § 21.1
TOTAL:                             $1,163,425,000

       With the benefit of actual data from the Claims Administrator, supporting a higher Class

Member participation rate in the Settlement than originally projected, Dr. Thomas Vasquez of

Ankura Consulting, who had previously valued the Settlement during the Rule 23(e) fairness

proceedings (ECF No. 6423-21), has revised his valuation of the Settlement upwards, concluding

that the MAF alone is now worth over $1 billion. See Supplemental Declaration of Christopher


       9
          The Alexander Objectors also make the completely mystifying argument that Dr.
Vasquez’s report “does not pertain to the Settlement actually approved by the Court.” ECF No.
7355, at 39. Dr. Vasquez’s projections were used by Class Plaintiffs, the Special Master, and the
Court in considering the Settlement’s value. In re NFL Players’ Concussion Injury Litig., 307
F.R.D. at 375.
       10
           Two objectors argue either against an award under a common fund theory – which
factors in risk, see In re Prudential, 148 F.3d at 340 – or that the proposed 2.6 multiplier is
unwarranted on the ground that Class Counsel had no risk of nonpayment as of August 2013,
when the term sheet was announced. ECF No. 7370, at 3 (Objector Anderson); ECF No. 7161,
at 4 (Objector Miller). Even the most cursory understanding of this litigation reveals this as a
fatuous argument. In January 2014, this Court rejected the first formal settlement agreement
presented by Class Counsel (ECF No. 5658). After negotiating a revised agreement, to which
this Court granted preliminary approval in July 2014 (ECF Nos. 6083-84), Class Counsel then
had to defend it against multiple objectors during the Rule 23(e) proceedings and even against a
novel Rule 23(f) challenge in the Third Circuit. After the November 2014 Fairness Hearing,
Class Counsel needed to secure further concessions from the NFL with respect to certain
modifications proposed by the Court. And after final approval in April 2015, the Settlement was
the subject of multiple Third Circuit appeals by objectors determined to scuttle the Settlement
(including by Objector Anderson) and, thereafter, two certiorari petitions in the Supreme Court.

                                                   7
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 19 of 77



A. Seeger, dated Apr. 10, 2017 (“Seeger Supp. Decl.” or “Seeger Supplemental Declaration”)

(filed contemporaneously herewith), Ex. JJ (An Updated Analysis of the NFL Concussion

Settlement), at 3 & Table 1.

   C. The Percentage of Recovery Method Is the Proper First Analysis

       Nor is there any basis for the Alexander Objectors’ suggestion that a percentage-of-the-

recovery method is not warranted here. ECF No. 7355, at 21-27. As the Third Circuit has

stated, “[t]he percentage-of-recovery method is generally favored in cases involving a common

fund, and is designed to allow courts to award fees from the fund “in a manner that rewards

counsel for success and penalizes it for failure.” In re Prudential, 148 F.3d at 333 (citation and

internal quotation marks omitted). The lodestar method is typically applied only in statutory fee-

shifting cases, and is designed to reward counsel for undertaking socially beneficial litigation in

cases where the monetary value of the relief is too small to provide adequate compensation. Id.

It may also be applied in cases where the nature of the recovery does not allow the determination

of the settlement’s value necessary for application of the percentage-of-recovery method. Id.;

accord In re Cendant Corp. PRIDES Litig., 243 F.3d 722, 732 (3d Cir. 2001) (citing In re

Prudential, 148 F.3d at 333).

       As Class Counsel discussed in their Fee Petition, the principles employed in assessing a

percentage-of-the-fund common fund attorneys’ fees claim are appropriate here because the

different settlement benefits secured by Class Counsel, totaling well over $1 billion in value, are

a constructive common fund. See, e.g., Dewey v. Volkswagen Aktiengesellschaft, 558 F. App’x

191, 197 (3d Cir. 2014); Jackson v. Wells Fargo Bank, N.A., 136 F. Supp. 3d 687, 713 (W.D. Pa.

2015) (“[G]iven that each of these amounts will be paid by defendants, the economic effect

essentially is that of a common fund.”); In re Heartland Payment Sys., Inc. Customer Data Sec.



                                                8
        Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 20 of 77



Breach Litig., 851 F. Supp. 2d 1040, 1072 (S.D. Tex. 2012) (“Having two funds—one for the

claimants, one for the attorneys—is a well-recognized variant of a common-fund arrangement.”);

In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d at 821 (“Although

. . . the fee was a separate agreement, thus superficially resembling the separate awards in

statutory fee cases, private agreements to structure artificially separate fee and settlement

arrangements cannot transform what is in economic reality a common fund situation into a

statutory fee shifting case.”). Furthermore, although it is uncapped, there is a clearly delineated

fund recovered on behalf of the Class that lends itself to valuation. In fact, as noted above, the

MAF has been valued by both Class Plaintiffs’ and the NFL Parties’ experts.

        Ultimately, the Alexander Objectors’ argument against a percentage-of-recovery fee

award rests on the already rejected contention that the Settlement does not provide value for the

Class. 11

            In a further collateral attack on the Court’s earlier rulings, the Alexander Objectors then

challenge the valuation of the Settlement. They suggest that the present value comes to “only”

$607,281,000, and then calculate a percentage of this fund using this figure. See Declaration of

Kenneth McCoin (ECF No. 7355-1), at ¶ 6. That argument is unavailing. Even if the alleged

present value of the Settlement benefits were taken into consideration, Class Counsel’s request

for $106.82 million in fees (the reimbursement of expenses would not be factored in here) would

nonetheless amount to only about 17-1/2% of the recovery – still well within the acceptable

range in percentage-of-recovery fee class cases. Even accepting the methodology, the Alexander
        11
          The Alexander Objectors assert that the inability of Claims Administrator Brown to
pinpoint all future administrative costs somehow casts the value of the MAF into doubt. ECF
No. 7355, at 24. That contention makes no sense; the MAF funds are used to compensate
Retired NFL Football Players and Derivative Claimants, not pay administrative costs.
Comparing the methodology of how the Claims Administrator can estimate expenses is an
apples-to-oranges comparison with Dr. Vasquez’s calculations.

                                                    9
        Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 21 of 77



Objectors leave out of their asserted $607,281,000 value the other benefits that Class Counsel

secured for the Class. These were not only the BAP (worth $75 million) and the Education Fund

($10 million), but also various tabs that ordinarily come out of a fund but which will be picked

by the NFL, including the cost of notice ($4 million); the cost of claims administration ($11.925

million); and attorneys’ fees and expenses for common benefit work ($112.5 million). Thus,

even under their valuation theory, Class Counsel secured a total present value of $719,456,000.

The percentage of the recovery that Class Counsel’s fee award would represent would thus be

less than 15 percent, which as discussed below, is still well within the reasonable range of fee

awards in so-called “mega-fund” cases.

        Disregarding immediate benefits also leads the Alexander Objectors to mistakenly invoke

In re Baby Products Antitrust Litigation, 708 F.3d 163 (3d Cir. 2013). Baby Products was a case

in which class counsel ended up with 40 percent of the settlement as fees, and even then more

than half the total settlement went to a cy pres distribution. Id. at 169-70, 179. Comparing this

case to Baby Products is simply another collateral attack on the Settlement – and a highly

strained one at that. 12




        12
           The further objection to the 5% set-aside, ECF No. 7355, at 29, ignores the simple fact
that the fee petition request is for work done to date – as very clearly laid out in the Class
Counsel’s opening papers – and that the 5% holdback is for the purpose of paying for future
work performed on behalf of Class Members. The Alexander Objectors contend that the 5%
holdback would produce $45,470,000. They base this on “Class Counsel’s projected Monetary
Award Fund” – i.e., $950 million. The Alexander Objectors, though, cannot have it both ways –
claiming a value of just over $600 million in their effort to minimize the recovery scored by
Class Counsel, and then turning around and resorting to the very $950 million value that they
elsewhere attack, so as to maximize the fees that all Class Counsel might potentially earn from
the set-aside over the 65-year life of the Settlement.



                                               10
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 22 of 77



       Under both the percentage-of-recovery method, and using a lodestar cross-check, the

requested fees are eminently reasonable. 13

   D. Nothing Prevented the Alexander Objectors from Filing a Cross-Petition

       The Alexander Objectors complain that they did not have an opportunity to make a fee

submission. That is unpersuasive. Other objectors filed petitions for fees, which are addressed

below in Section IV of this omnibus reply memorandum, and which detail the value they

allegedly added to the Settlement. See ECF Nos. 7070 (Faneca Objectors), 7232 (Armstrong

Objectors), 7364 (Jones Objectors). Nothing prevented the Alexander Objectors from doing

likewise, especially since they had the example of the Faneca Objectors’ fee petition, which was

filed as far back as January 11, 2017.

       Telling, however, in their copious 69-page opposition to Class Counsel’s fee petition, the

Alexander Objectors do not describe a single common benefit task they performed, or a single

improvement to the Settlement that they brought about through their objections (and no doubt for

good reason, for they added no value to the Settlement). Rather, they criticize Co-Lead Class

Counsel Seeger, stating that he “secretly” determined who would benefit. But there was no

mystery involved.    Class Counsel is supposed to assign common benefit work to prevent

unnecessary duplication and waste. Court-appointed counsel for a class typically have to

determine which lawyers provided a common benefit to the class.




       13
           The remaining arguments should not detain the Court. For example, the Alexander
Objectors cite Dungee v. Davison Design & Development, No. 16-1486, __ F. App’x __, 2017
WL 65549 (3d Cir. Jan. 6, 2017), “as a great example of a circumstance where lodestar is more
appropriate when subjective evaluation would be required to value the fund.” ECF No. 7355, at
22-23. It is nothing of the kind. In fact, Dungee is nothing more than an unremarkable example
of the use of the lodestar method in a fee-shifting case.


                                               11
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 23 of 77



   E. The Alexander Objectors’ Evidentiary Complaints Are Specious

       When all else fails, nit-pick. And so the Objectors “demand a degree of detail . . . that is

not required by law.” Pawlak v. Greenwalt, 713 F.2d 972, 978 (3d Cir. 1983). “The court’s

focus in assessing the adequacy of submitted documentation,” however, “is whether the

documentation permits the court to determine if the claimed fees are reasonable.” Id.

       The Alexander Objectors devote nearly 13 pages of their brief to sundry “evidentiary

objections” to the various declarations in Class Counsel’s opening papers. ECF No. 7355, at 44-

57. But this is neither a trial nor a summary judgment motion and this objection begins with the

erroneous assumption that the fee cannot be the result of a percentage-of-the-fund award. The

lodestar cross-check “does not trump the primary reliance on the percentage of common fund

method.” In re Rite Aid Corp. Secs. Litig., 396 F.3d 294, 307 (3d Cir. 2005). As the Third

Circuit has explained, “[t]he lodestar cross-check calculation need entail neither mathematical

precision nor bean-counting.     The district courts may rely on summaries submitted by the

attorneys and need not review actual billing records. . . . [T]he resulting multiplier need not fall

within any pre-defined range, provided that the District Court’s analysis justifies the award.” Id.

at 306-07 (footnotes and citations omitted). In short, a lodestar cross-check serves merely as a

rough yardstick to gauge the reasonableness of a common benefit fee request.

        Moreover, the objections defy common sense.           The declarations submitted in the

opening papers were from partners who supervised their respective firms’ participation in this

litigation. The suggestion that these attorneys lack personal knowledge of the tasks performed

by their respective firms is absurd. Moreover, as detailed in Mr. Seeger’s master declaration,

common benefit work was performed, and common benefit expenses incurred, under his aegis,




                                                12
        Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 24 of 77



and he deemed all work being billed reasonable, necessary, and non-duplicative. ECF No. 7152-

2, at ¶¶ 72-73, 75-76.

        The Alexander Objectors further complain that “[t]he Court needs to know what the

attorneys were doing.” ECF No. 7355, at 11. The contention that the Court cannot evaluate how

attorneys spent their time on this litigation is puzzling. 14 The Court took an active interest in the

settlement negotiations and mediation, with respect to which it was continually apprised of

developments by both Mediator Phillips, and by Special Master Golkin, and it has taken an

active role in overseeing the Settlement’s implementation. Past filings – e.g., ECF Nos. 5634-4

(Judge Phillips’ Declaration in support of preliminary approval), 6423-3 (Mr. Seeger’s

Declaration in support of final approval) – have further informed the Court of Class Counsel’s

activity.

        Moreover, the various declarations submitted in support of the fee petition are quite

sufficient to provide this information. The opening memorandum provides significant detail

over 17 pages, with copious citations to the record. Co-Lead Class Counsel Seeger’s master

declaration (ECF No. 7151-2) describes, over nearly 18 pages and in significant detail, the

unfolding of the litigation and the critical work done in each phase. Declarations submitted by

other Class and Subclass Counsel also detail the substantial efforts undertaken to achieve the


        14
           Objector Anderson makes the conclusory argument that too much work was done by
senior attorneys and could have been handled by junior attorneys. ECF No. 7370, at 2. This
throwaway argument merits little discussion. It is uninformed second-guessing by lawyers who
lack insight into how litigation of this magnitude and complexity was prosecuted, managed, and
ultimately resolved. Class Counsel’s opening memorandum and Mr. Seeger’s master declaration
set forth the complexity of the work undertaken by Class Counsel. For example, the many
mediation and negotiation sessions with senior NFL counsel required the involvement and input
of seasoned lawyers. Developing multiple experts across several fields also required the
involvement of experienced attorneys. This is not a case where senior partners are billing time
for having handled document review, and Objector Anderson makes no effort to identify in any
way work that could have been done by less-experienced counsel.

                                                 13
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 25 of 77



outcome here. See Declaration of Steven C. Marks (ECF No. 7151-8), at ¶¶ 3-28; Declaration of

Gene Locks (ECF No. 7151-7), at ¶¶ 3-18; Declaration of Arnold Levin (ECF No. 7156-6), at ¶

2a-r. Other supporting declarations similarly provide ample detail. E.g., Declaration of Samuel

Issacharoff (ECF No. 7151-18), at ¶ 2; Declaration of Craig Mitnick (ECF No. 7151-23), at ¶

2(a)-(s). The Alexander Objectors ignore all of this evidence.

       Moreover, Mr. Seeger’s master declaration informs the Court of the process followed by

Class Counsel, and provides the necessary assurance that the time and expenses were expended

for the common benefit of the Class. “Pursuant to the procedures outlined in CMO5, attorneys

and staff working at [his] direction and under [his] supervision collected and reviewed

submissions of common benefit time and reimbursable costs and expenses submitted by the PEC,

PSC and by other firms to which [he] had assigned common benefit work.” ECF No. 7151-2, at

¶ 75. Only time and expenses that inured to the common benefit of the Class, and that advanced

the claims resolved in the Settlement, have been included in the time presented, and the costs

submitted herein. Id. ¶ 76.

   F. The Proposed Lodestar Multiplier Is Eminently Reasonable

       Yet another meritless objection is the Alexander Objectors’ contention that a lodestar

multiplier is available only in rare and exceptional instances and is unwarranted here. ECF No.

7355, at 33-34. Once again, they inappropriately rely on Dungee, which is inapposite for the

simple reason that it was a statutory fee-shifting case, not a percentage-of-recovery constructive

common fund case such as this. See Dungee, 2017 WL 65549, at *2 (“When a court applies the

lodestar method to award fees in a class action case that involves a fee-shifting statute, there is “a

‘strong presumption’ that the lodestar represents the ‘reasonable’ fee,” for class counsel’s




                                                 14
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 26 of 77



work.”) (emphasis added). 15 The case law in this Circuit has been eminently clear on the

difference between statutory fee-shifting cases and common fund cases. To cite Dungee in this

fashion borders on the sanctionable.

       The Alexander Objectors take their misguided argument that the Court employ the

lodestar method – which is inappropriate in cases that do not involve an application under a fee-

shifting statute – further by arguing that “Class Counsel is upwardly enhancing its fee

calculations instead of revising them downward as suggested by the Third Circuit.” ECF No.

7355, at 31. The Third Circuit, however, has held that, for lodestar cross-check purposes, a

multiplier of 1-4 is appropriate and frequently awarded, see In re Cendant Corp. PRIDES Litig.,

243 F.3d at 742; In re Prudential, 148 F.3d at 341, although a lodestar multiplier need not fall

within any pre-defined range, provided that a district court’s analysis justifies the application of

the multiplier, In re Ins. Brokerage Antitrust Litig., 579 F.3d 241, 280 (3d Cir. 2009). 16




       15
           See also, e.g., Student Pub. Interest Research Grp. of N.J., Inc. v. AT&T Bell Labs, 842
F.2d 1436 (3d Cir. 1988) (pursuant to Clean Water Act’s fee-shifting provisions); Pennsylvania
v. Del. Valley Citizen’s Counsel for Clean Air, 478 U.S. 546, 565 (1992) (Clear Air Act case);
City of Burlington v. Dague, 505 U.S. 557, 562 (1992) (attorneys’ fees provisions of Solid Waste
Disposal Act and Clean Water Act); Perdue v. Kenny A. ex. Rel. Winn, 559 U.S. 543, 546 (2010)
(42 U.S.C. § 1988) (“This case presents the question whether the calculation of an attorney’s fee,
under federal fee-shifting statutes, based on the “lodestar,” i.e., the number of hours worked
multiplied by the prevailing hourly rates, may be increased due to superior performance and
results.”) (footnote omitted).
       16
          The Anderson Objectors posit that “[a] more reasonable average hourly rate for this
case would be $600.” ECF No. 7370, at 3. It is unclear from where this number is drawn
because there is no supporting citation for this contention. Class Counsel have demonstrated that
their hourly rates are reasonable. At any rate, even using this arbitrarily-selected rate, the
lodestar multiplier would come to 3.56 – still within the 1-4 range that the Third Circuit has
endorsed.



                                                 15
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 27 of 77



    G. The “Mega-Fund” or Declining Percentage Theory Should Not Apply Here

        The Alexander Objectors point to the “declining percentage” (also known as “mega-

fund”) theory discussed in Cendant Corp. PRIDES Litigation, and urge the Court to apply it

here. ECF No. 7355, at 31. They misrepresent, though, the Third Circuit’s position on this

theory. Although “it may be appropriate for percentage fees awarded in large recovery cases to

be smaller in percentage terms than those with smaller recoveries[,] . . . the declining percentage

concept does not trump the fact-intensive Prudential/Gunter analysis.” 17 In re Rite Aid Corp.

Secs. Litig., 396 F.3d at 302-03. Indeed, “there is no rule that a district court must apply a

declining percentage reduction in every settlement involving a sizable fund,” id., and decisions

from this Court have rejected it. 18




        17
           The Alexander Objectors argue that this Settlement was insufficiently complex for the
Court to consider the Gunther/Prudential factor of “Complexity and Duration of the Litigation”
as favorable to Class Counsel’s fee petition. ECF No. 7355, at 35-36. That argument is also
without merit. As Class Counsel described, the scope of the relief provided by the Settlement,
the multiple challenging legal hurdles faced, the sophistication of the Defendants and their
counsel, and the complicated medical and actuarial issues, among other factors, made this
Settlement quite complex. E.g., ECF No. 7151-1, at 37-43. The Alexander Objectors maintain
that after the Court ordered the parties to mediation, “no further merits litigation occurred after
that point.” ECF No. 7355, at 36. That is patently false because it disregards the extensive
briefing of motions for preliminary and final approval (the former a second time, after the Court
rejected the first proposed settlement), spirited opposition to both preliminary and final approval,
attempted interlocutory appellate review of this Court’s preliminary approval order, the Fairness
Hearing and post-hearing briefing, and the long appeals process that ensued afterwards (and in
which the Alexander Objectors themselves took part).
        18
          E.g., In re Linerboard Antitrust Litig., No. 98-5055, 2004 WL 1221350, at *16-17
(E.D. Pa. June 2, 2004) (“The Court rejects [the sliding scale] in this case because the highly
favorable settlement was attributable to the petitioners’ skill and it is inappropriate to penalize
them for their success. Moreover, the sliding scale approach is economically unsound.”); In re
Ikon Office Solutions, Inc., Secs. Litig., 194 F.R.D. 166, 197 (E.D. Pa. 2000) (mega-fund
approach “fails to appreciate the immense risks undertaken by attorneys in prosecuting complex
cases in which there is a great risk of no recovery”).



                                                16
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 28 of 77



       But even under this “mega-fund” approach, an award of approximately nine percent of

value of the recovery is still well within the norm in this Circuit for class counsel fees in cases

involving recoveries that exceed $100 million. 19 E.g., King Drug Co. of Florence v. Cephalon,

No. 06-cv-01797-MSP, 2015 WL 12843830, at *5 (E.D. Pa. Oct. 15, 2015) (awarding 27.5% of

$512 million settlement); In re Rite Aid Corp. Secs. Litig., 362 F. Supp. 2d 587, 590 (E.D. Pa.

2005) (25% of $126,641,315 fund). It is also within the norm of awards made by courts outside

this Circuit. 20 E.g., Lawrence E. Jaffe Pension Plan v. Household Int’l, Inc., No. 02-C05893,

ECF No. 2265, at 1-2 (N.D. Ill. Nov. 10, 2016) (awarding 24.68% of $1.575 billion settlement);

In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2013 WL 1365900, at *7 (N.D.

Cal. Apr. 3, 2013) (28.5% of $1.1 billion fund); In re Tyco Int’l, Ltd. Multidist. Litig., 535 F.

Supp. 2d 249, 266, 272, 274 (D.N.H. 2007) (14.5% of $3.3 billion fund); In re Adelphia

Commc’ns Corp. Sec. and Derivative Litig., No. 03 MDL 1529, 2006 WL 3378705, at *1, *3

(S.D.N.Y. Nov. 16, 2006) (awarding 21.4% of $455 million fund); In re Freddie Mac Sec.

Litig., No. 03-CV-4261 (JES), slip op. at 1 (S.D.N.Y. Oct. 27, 2006) (20% of $410 million fund);

In re Royal Ahold N.V. Sec. & ERISA Litig., 461 F. Supp. 2d 383, 387 (D. Md. 2006) (12% of

$1.1 billion fund); Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1192 (S.D. Fla.
       19
           The Alexander Objectors cite In re Prudential for the proposition that a fee
representing 6.7 percent of the recovery is excessive. ECF No. 7355, at 29-30. In re Prudential,
however, was decided in 1998. The Alexander Objectors fail to address the nearly two decades
of intervening caselaw cited by Class Counsel, as well as Professor Fitzpatrick’s empirical study,
which show that Plaintiffs’ 9% request is well within the range approved by courts. See Brian T.
Fitzpatrick, An Empirical Study of Class Action Settlements and Their Fee Awards, 7 J.
Empirical L. Stud. 811 (2010) (copy annexed to Seeger Decl. as Ex. Y (ECF No. 7151-28)).
       20
          The Alexander Objectors maintain that Class Counsel’s comparison of the fee award
requested here to that of other cases is “legally infirm” because Class Counsel discussed smaller
settlements. ECF No. 7355, at 30. That ignores the discussion of this issue in Class Counsel’s
opening memorandum. See ECF No. 7151-1, at 44-47 & n.31. The award requested by Class
Counsel falls comfortably within the parameters of fee awards in large class settlements.



                                                17
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 29 of 77



2006) (31.33% of $1.1. billion fund); Shaw v. Toshiba Am. Info. Sys., Inc., 91 F. Supp. 2d 942,

972 (E.D. Tex. 2000) (15% of $1-1.1 billion award); In re NASDAQ Mkt.-Makers Antitrust

Litig., 187 F.R.D. 465, 485-86 (S.D.N.Y. 1998) (14% of $1.027 billion fund). 21

III. THE REQUESTED FIVE PERCENT SET-ASIDE IS APPROPRIATE AND
     NECESSARY TO COMPENSATE COUNSEL WHO PERFORM COMMON
     BENEFIT WORK RELATED TO SETTLEMENT IMPLEMENTATION OVER
     THE SETTLEMENT’S 65-YEAR TERM___________________________________

   A. Creation of the Separate 5% Set-Aside Fund

       At this juncture, Class Counsel are not asking to be paid for any post-Effective Date

work, despite some objectors’ attempts to mischaracterize the set-aside request. 22 Rather, Class


       21
            The Alexander Objectors argue that Class Counsel cannot rely on the value of benefits
attributable to the efforts of others as a favorable Gunther/Prudential factor. They assert that
Class Counsel derived “important fruits” from the congressional hearings on head injuries in the
NFL. ECF No. 7355, at 36-37. That argument fails to address the caselaw cited by Class
Counsel regarding the level to which government assistance must have risen in order to
adversely impact a fee petition. See ECF No. 7151-1, at 47-48. Government assistance or the
benefits that class counsel drew from a government investigation or other legal action must be
significant. Any benefit that Class Counsel derived from the congressional hearings falls well
short of that level. The Alexander Objectors contend that “Class Counsel supplies no evidence”
that “this litigation was not aided by the government investigation.” ECF No. 7355, at 37. To
the contrary, Mr. Seeger’s Declaration lays out in very comprehensive detail how Class Counsel
developed their case.
       22
          Several objectors describe their objections as being in response to Class Counsel’s
alleged request for an additional $47.5 million fee, which they calculate by multiplying 5% by
the estimated $950 million value of the MAF. See ECF No. 7355 (Alexander Objectors), at 58;
ECF No. 7355-1 (McCoin Decl.), at ¶7 (suggesting that the 5% set-aside is tantamount to “an
additional fee request of $45,470,000, or $25.9 million discounted to present value.”); ECF No.
7360 (Hilgenberg and Duranko), at 5 (“Class Counsel’s request would result in a $47,500,000
holdback against the individual class members and, given the stage of these proceedings, that
amount can hardly be justified.”). See also ECF No. 7346 (Top NFL Lawyers), at 5 (claiming
that Class Counsel is attempting “to collect (with this first Petition for a set-aside) all of the
money it claims is necessary to fund the common benefit costs for the entire 65-year life of the
Settlement”); ECF No. 7370 (Objector Anderson), at ¶ 6 (referring to Class Counsel’s alleged
“attempt to collect all of the money purportedly necessary to fund the common benefit costs for
the Settlement’s 65-year life expectancy[.]”). Objectors absurdly assume that all of these set-
aside monies will be paid to the currently appointed Class Counsel. That is plainly not the case.
These monies will be paid out over time for the Settlement’s 65-year life, as further described in
                                                                   (Footnote continued . . .)

                                               18
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 30 of 77



Counsel are asking the Court to acknowledge that it is fair, reasonable, and necessary to

compensate counsel for common benefit work performed after the Settlement’s Effective Date,

and to direct that the post-Effective Date common benefit work compensation be funded through

set-asides from Class Members’ individual Monetary Awards and Derivative Claimant Awards.

As noted in the leading treatise on class actions, it “is evident [that] a court makes two distinct

calculations in assessing common benefit fees: first, a holdback assessment, and second, an

award assessment.” 5 William B. Rubenstein, Alba Conte, and Herbert Newberg, Newberg on

Class Actions (“Newberg”), § 15:116, at 432 (5th ed. 2015) (emphasis in original). Presently,

Co-Lead Class Counsel request that the Court perform only the first calculation and order the

holdbacks or set-asides.

       Assuming that the Court permits its creation, the separate set-aside fund (“Set-Aside

Fund”) would be a pool of funds distinct from the Attorneys’ Fees Qualified Settlement Fund

funded by the NFL, see Settlement Agreement §§ 21.2 & 23.7 (ECF No. 6481-1), at 82, 90; ECF

No. 7246 (Mar. 7, 2017) (Order establishing Attorneys’ Fees Qualified Settlement Fund and

appointing Garretson Resolution Group, Inc. as Fund Administrator), and will be funded

gradually as claims are paid over the 65-year life of the Settlement, and it will be overseen by the

Court on an ongoing basis. Over time, petitions will be filed by counsel performing post-

Effective Date common benefit work, seeking reimbursement for fees and expenses, and the

Court will consider the petitions and rule upon them accordingly. See Section III.B, infra

(discussing anticipated petitions). While Class Counsel expect that they will seek reimbursement

for fees and expenses related to common benefit work performed by Court-appointed Class

Counsel after the Effective Date, it is not solely their own compensation that is at issue.

Section III below, and thus to generations of attorneys performing work on behalf of the Class
long after Co-Lead Class Counsel are gone from the scene.

                                                19
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 31 of 77



Additionally, it is vital to recognize the need to create an incentive for the multiple groups of

lawyers who will be entrusted with shepherding the Settlement in the future to ensure that

benefits continue to be provided to Class Members over the next 65 years.

       Indeed, the need to incentivize lawyers in the future to act as replacement class counsel

arises from the fact that this Settlement is unprecedented in the length of time over which claims

can be submitted, thus requiring a “changing of the guard” (if anything, almost certainly multiple

changes). 23 In addition to the Settlement’s long lifespan, the large amounts of the monetary

awards and other unique aspects of the Settlement prevent it from simply being handed over to

administrators to receive claims and issue benefit payments for the next 65 years. There are

detailed qualification and claims processes that Class Members must navigate that may best be

handled with the assistance of, or explanation by, current or future class counsel.              More

importantly, the appeals process will involve counsel on behalf of the NFL Parties and, as such,

Class Members will need class counsel to advocate on their behalf. Finally, medical providers

and other administrators will be replaced over time through a vetting process engaged in by both

counsel for the NFL Parties and class counsel. 24 See Section III.C infra (further discussing post-

Effective Date common benefit work).


       23
            Although there have been other personal injury class action cases with settlement
funds that have been administered over many years (due to the latency of the disease
manifestation),       none,        except     perhaps       In      re        Diet      Drugs
Phentermine/Fenfluramine/Dexfenfluramine) Products Liability Litigation (“Diet Drugs”), will
have to be administered for close to the 65-year period covered by this case, and there, the
district court made several fee awards for common benefit work. Diet Drugs, MDL No. 1203,
2011 WL 2174611, at *1, *6, *9, *11 (E.D. Pa. June 2, 2011) (awarding further common benefit
fees, noting there had been prior common benefit fee awards, namely, 2002 Interim Fee Award,
April 2008 Final Fee Award and 2010 further fee award, and noting that matrix payments will be
made through the year 2063).
       24
           Some objectors suggest that individually retained counsel could perform this work in
the future. See ECF No. 7282 (Blizzard Objectors), at 7-8 (asserting that Co-Lead Class Counsel
                                                                    (Footnote continued . . .)

                                                20
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 32 of 77



       Assuming the Court agrees that the creation of a Set-Aside Fund is necessary to provide

compensation and incentive related to post-Effective Date common benefit work, the percentage

of the holdback should be set now, before the Claims Administrator pays out the first monetary

awards to Class Members and Derivative Claimants. Determination of a set-aside amount now

will allow the Claims Administrator to hold back these amounts from the awards and place them

in the Set-Aside Fund.

       Certain objectors contend that the request for a set-aside is premature because the post-

Effective Date costs are not yet known. See ECF No. 7370 (Objector Anderson), at ¶ 6 (“the

request is premature because the true administrative costs are not yet known”). As noted in

Class Counsel’s opening papers, and as set forth again below in Section III.C, Class Counsel

know and are able to enumerate the types of common benefit work that most certainly lie ahead

(some of which already have been accomplished) to be performed by current Class Counsel and

in the future by those lawyers who will take over these responsibilities. Thus, as detailed further

below, Class Counsel expect that as the claims and common benefit work proceeds, historical

data and perspective will be developed, and the lodestar and expense investment required for

common benefit work on a monthly or annual basis can be forecast. But, clearly, if the Court

agrees that post-Effective Date common benefit work should be compensated via a Set-Aside

Fund, the set-aside must be in place before any Claims are paid. The request is not premature.

Further, consistent with the Settlement Agreement and other cases, a 5% set-aside on monetary


“will necessarily . . . rely on individual representation to ensure the most successful result
possible for individual claimants”); see also ECF No. 7346 (Top NFL Lawyers), at 6-8. If so,
then the Court may adjust the compensation in the future. Some parts of settlement
administration, such as selection of Qualified MAF Physicians over time, cannot be performed
by individually retained counsel. At this point, however, the sole issue is the creation of a fund
from which compensation can be awarded, as necessary.



                                                21
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 33 of 77



awards is reasonable to ensure that this compensation and incentive is provided going forward.25

Obviously, the Court can reevaluate the set-aside at any point.

       Unsurprisingly, several individually-retained lawyers, who have not performed any

common benefit work in the past (and who likely will not perform any common benefit work in

the future), have objected to the 5% set-aside. These objecting counsel know that for represented

Class Members, as per the Settlement Agreement, any set-aside from a Monetary Award or

Derivative Claimant Award will reduce the attorney’s fee payable to that counsel by the amount

of the set-aside.   Settlement Agreement § 21.1 (ECF No. 6481-1), at 82. With very few

exceptions, though, the objections to the 5% set-aside were filed by lawyers who did not

acknowledge the fact that the 5% set-aside will come out of the lawyers’ contingent fee

portion, 26 rather than out of the Class Member’s share. E.g., ECF No. 7364-1 (Jones Objectors)



       25
            Although some authorities consider the initial calculation of a holdback amount to be
“purely arbitrary in nature,” 5 Newberg § 15:116, at 432, that is because a holdback percentage is
often adopted at an early stage in multidistrict cases, before settlements have been reached.
Similarly, the cases cited by Class Counsel in their opening papers for the proposition that a 5%
set-aside is reasonable were in such a posture. See ECF No. 7151-1, at 71 n.38. Neurocognitive
Football Lawyers criticize Co-Lead Class Counsel for relying upon these cases. See ECF No.
7350, at 1-2. This Settlement’s 65-year lifespan is so unique, however, that there are really no
other cases in exact parallel. Nevertheless, it is helpful to highlight other cases wherein
percentage set-asides in and around 5% were established. But see In re Diet Drugs, 582 F.3d
524, 533 (3d Cir. 2009) (noting that common benefit fees were awarded first in an interim fee
award and then later in a final fee award). See also Section III.D, infra (further response to
Neurocognitive Football Lawyers’ argument that it is inappropriate to compensate Class Counsel
for common benefit work done prior to and after Settlement’s Effective Date).
       26
           One of the exceptions, Top NFL Lawyers, acknowledged that the 5% holdback would
come out of the individually retained attorneys’ fees. See ECF No. 7346. Top NFL Lawyers
assumed that lawyers are not yet individually retained and would be “increase[ing] the cost of
their service by between 20-50% in most cases to their future clients,” should the 5% set-aside be
ordered. Id. at 10. These Objectors also suggested that the set-aside might cause individually
retained lawyers “to reduce the time and effort on each individual claim to make up for the
dramatically lower, projected revenues even a 2% set aside would cause. This is due to the
simple economics of the business of a law practice.” Id. One hopes that the market, and an
                                                                   (Footnote continued . . .)

                                                22
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 34 of 77



at 9 (“The Jones Objectors do not believe taxing the benefits payable to retired players or their

families is either appropriate or necessary, particularly in light of the very large and fully funded

Attorneys’ Fees Qualified Settlement Fund.”). These counsel simply ignore the fact that it is

they, and not their clients, who will have their compensation reduced by the set-aside. 27

   B. Future Petitions for Awards to Reimburse Counsel for Post-Effective Date Common
      Benefit Work from the Set-Aside Fund

       Assuming that the Court determines that a Set-Aside Fund to pay for post-Effective Date

common benefit work ought to be created and adopts the proposed 5% holdback, at some point

in the future Class Counsel will be petitioning (at appropriate intervals) the Court for awards of

fees and expenses from that fund. Of course, before doing so, as noted in Co-Lead Class

Counsel’s opening papers, “Plaintiffs’ counsel will submit, within thirty days of the Court’s

Order, a detailed plan of administration, including how the funds created from the holdbacks will

be pooled and maintained, and how any attorney will apply for compensation for post-Settlement

work performed.” ECF No. 7151-1, at 64. Class Counsel expect that it will be about twelve

months before they will file such a petition, consistent with the aforementioned plan of

administration or whatever plan of administration the Court determines is appropriate.




abiding sense of ethics, will keep lawyers not yet retained from hiking their rates for work that,
at this point, bears no contingency risk.
       27
           The only lawyers objecting to the 5% set-aside who have represented to this Court that
they are not taking a contingent fee are the attorneys from Polsinelli PC, who represent Kevin
Turner’s estate against Podhurst Orseck P.A. ECF No. 7029, at ¶ 2 (noting they are representing
the estate of Kevin Turner on a pro bono basis). Additionally, one pro se Class Member, Ronald
Sabal, filed an objection to the holdback. ECF No. 7351. The impact of the requested set-aside
upon a Class Member’s portion of a monetary award is addressed in Section III.E, infra.



                                                 23
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 35 of 77



Accordingly, any ruling on the reasonableness of the amount or the timing of future

compensation requests is not ripe. 28

   C. Post-Effective Date Common Benefit Work and Expenses to Be Covered by the Set-
      Aside Fund

       At bottom, the objections to a common benefit set-aside reflect lack of knowledge of

what is involved in this complex Settlement, largely due to the fact that most objecting counsel

have done nothing on the case. None of these lawyers has lifted a finger to aid in the launch and

the maintenance over time of the Claims Administration program, the BAP, and the Lien

Resolution Program. 29     Nevertheless, because several objectors demand more detail, it is

provided below.

       As an initial matter, it should be noted that each one of the below tasks involved

coordination between many varying parties through ongoing conference calls, meetings and

emails, between Co-Lead Class Counsel, counsel for the NFL Parties, the Claims Administration

team, the BAP Administration team, the Lien Resolution Administration team, and the Special

Masters. Each of the below tasks that involved the drafting of a document included multiple


       28
           Many objectors seem to think that the detail that will be provided when these petitions
are filed needs to be furnished now. See ECF No. 7350 (Neurocognitive Football Lawyers), at
11; ECF No. 7373 (Merriweather Objectors), at 4-5. That is not the case. The Neurocognitive
Football Lawyers even suggest that there should be discovery. ECF No. 7350, at 4, 8, 12. Such
a suggestion would invite the kind of “second major litigation” that the Supreme Court has
counseled against in fee application matters. Hensley v. Eckerhart, 461 U.S. 424, 437 (1983).
       29
           Class Counsel endeavor herein to state in painstaking detail the post-Effective Date
common benefit work already completed and to be accomplished in the future because some
objectors claim to not understand how the common benefit work performed and to be performed
post-Effective Date that would be paid for by distributions over time from the proposed Set-
Aside Fund, is distinct from the common benefit work (and the corresponding expenses) that was
completed prior to the Effective Date, for which compensation is being sought from the $112.5
million paid by the NFL Parties. See ECF No. 7282 (Blizzard Objectors), at 6 (asserting that
Class Counsel have not shown how the pre-Effective Date labor is different from the post-
Effective Date labor).

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       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 36 of 77



rounds of review and editing by an individual or individuals from each camp, oftentimes

requiring weeks of such iterative and collaborative work to prepare a final document or

procedure. Similarly, each of the below tasks that involved the selection of individuals to serve

in the Settlement, such as individual medical providers who will serve on the medical networks,

demanded development of a process to solicit applications and then to vet and review each of the

candidates, including wider investigation and credentialing, finally arriving at mutual approvals

by the Parties for each of the selected providers.

       By way of example and based upon the limited data available thus far, in the first quarter

of 2017 alone, Seeger Weiss LLP already has invested over $600,000 in lodestar devoted to the

below-described tasks. See Seeger Supp. Decl., at ¶ 15. Two high-level lawyers at Seeger

Weiss, including a partner, have been working virtually full-time, and another lawyer as well as a

paralegal have been working part-time on these common benefit implementation-related tasks

since even before the January 7, 2017 Effective Date. Id. The work that they, Co-Lead Class

Counsel, and other Class Counsel firms have been doing (and will do in the future) is set forth in

paragraphs 14 to 38 of the accompanying Seeger Supplemental Declaration, and enumerated

below. It captures only the major tasks that have been undertaken and can be anticipated to

launch and maintain the Settlement Program

       1. Drafting and Dissemination of Supplemental Notices

       Class Counsel recognized, as did the Court, the importance of ensuring that all Class

Members received clear and concise notice of the Effective Date for the Settlement and the need

to register by August 7, 2017. To maximize participation, Class Counsel drafted and had the

Claims Administrator disseminate via mail, email, and on the Settlement Website, the Pre-

Registration Notice, and once the Registration opened on February 6, 2017, the formal



                                                 25
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 37 of 77



Supplemental Notice advising that Registration was open was drafted and disseminated. In

addition, Class Counsel is engaged in ongoing efforts, including further mailings, to inform Class

Members of the need for registration to enjoy the benefits of the Settlement, and the ease with

which registration can be accomplished.

       2. Implementation Paperwork and Retention of Key Officers

       Class Counsel expended efforts to retain the administrators and Special Masters,

conferring with them and with counsel for the NFL Parties to execute all necessary

documentation for formal retention as well as developing documents that establish the

fundamental operation of each of the Administrators, including Conflict of Interest plans and

operational procedures. Similarly, Class Counsel worked expeditiously to retain the Settlement

Trustee and execute all necessary documentation to ensure that the Settlement Trust was

established and would continue funding Settlement Benefits throughout the 65-year term of the

Settlement. In addition, Class Counsel have worked quickly with counsel for the NFL Parties,

the Administrators, and the Special Masters to ensure that all forms required for the various

medical providers were created in time to review the documents and vet the medical providers so

as to have selections of providers agreed to by the Settling Parties well in advance of the dates of

launch of the BAP and MAF.

       3. Work to Ensure Class Member-Friendly Registration and Claims Processes

       As registration is the door through which each and every Class Member must pass before

he/she can enjoy the benefits of the Settlement, Class Counsel dedicated many hundreds of hours

with the Claims Administrator, the NFL Parties, and the Special Masters to the negotiation and

development of the registration forms and procedures to ensure that the process was efficient and

accessible so that no eligible Class Member would be denied entry. Besides the creation of the



                                                26
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 38 of 77



hard-copy forms, Class Counsel worked alongside the other parties to launch the on-line

registration portal that can be used by Class Members to complete registration in a matter of

minutes. Underlying the registration process are hundreds of pages of procedures and other

guidance documents that were created through the collaborative process discussed above.

       In this respect, Class Counsel have worked and will continue to work with the Claims

Administrator to continually update the Settlement Website, including its “Frequently Asked

Questions” section. This work was particularly demanding during several watershed moments in

the Settlement’s life thus far, including the passage of the Effective Date, the launch of

Registration, and the commencement of the period to file claims. This platform is particularly

valuable to ensuring that Class Members have easy access to the most up-to-date information and

clear guidance on the Settlement Program. Class Counsel continue to work on revisions to the

Settlement Website as new phases begin and additional forms and other documents become

available for the Class Members, such as those relating to the BAP Program and the appeals

process. Additionally, Class Counsel worked with the Claims Administrator to assist in the

transition of the handling of Class Member calls from the Call Center to the Claims

Administrator, once the Effective Date was triggered.

       Moreover, Class Counsel worked with counsel for the NFL Parties, the Administrators,

and the Special Masters to ensure that all forms needed to submit a claim were prepared, and that

they were all-inclusive and easily understood. These forms covered not only the basic claim

form, but also the supporting forms that need to be submitted to perfect a claim, including all of

the Diagnosing Physician Certification Forms, beginning with the Pre-Effective Date Diagnosing

Physician Certification Form, so that the claims by those Class Members who received

Qualifying Diagnoses prior to the Effective Date can be processed as quickly as possible.



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       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 39 of 77



Additionally, Class Counsel worked with the Claims Administrator, the NFL Parties and the

Special Masters to launch an on-line claims portal, where Class Members are guided through the

claims submission process. Underlying the entire claims process are hundreds of pages of

procedures and other guidance documents that were created through the collaborative process

discussed above.

        4. Efforts to Widely Spread Information to Class Members

        As requested by the Court, and as part of its wider efforts to reach out to the Class about

the Settlement Program, Co-Lead Class Counsel prepared a presentation for Class Members for

the February 8, 2017 status conference (which the Court convened to address the status of the

Settlement’s implementation) and arranged for the conference to be live-streamed on the

internet. The presentation was designed to explain to Class Members watching and listening to

the internet broadcast the next steps they needed to take, to inform them of the efforts being

expended by all involved to get the Settlement programs up and running, to answer questions,

and most of all to encourage registration. In addition, Co-Lead Class Counsel also has held

several webinars to speak to Class Members through the internet, to encourage registration and

to answer questions about the Settlement, its benefits and how to obtain the benefits. These

webinars, like the wider outreach efforts, will be ongoing. It appears that these efforts to

encourage registration are bearing fruit and are likely to result in a participation rate that is

higher than had been projected. See Seeger Supp. Decl., Ex. JJ, at 6 (Dr. Vasquez’ original

projection for the participation rate of 59% has now increased to 63%, based upon the

registration rates for the first eight weeks of the registration period).




                                                   28
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 40 of 77



       5. Efforts to Combat the Dissemination of Misinformation to Class Members

       Conversely, Class Counsel have had to battle the spreading of misinformation to Class

Members. Class Counsel have received numerous reports of written and oral communications

with Class Members, containing inaccurate or misleading information about the Settlement, by

those seeking to profit from Class Members by charging fees or securing portions of Class

Members’ anticipated monetary awards. In furtherance of their fiduciary duty, Class Counsel

have made every effort to investigate these reports and, where warranted, bring matters to the

Court’s attention in order to protect Class Members. See ECF Nos. 7175, 7347 (motions to

enjoin improper communications and solicitations of Class Members).

       6. Selection of Advisory Panel Members and Appeals Advisory Panel Consultants

       The Appeals Advisory Panel is a panel of physicians, composed of, in any combination,

five board-certified neurologists, board-certified neurosurgeons, or other board-certified neuro-

specialist physicians, and the Appeals Advisory Panel Consultants is composed of three

neuropsychologists. It was not easy to agree with the counsel for the NFL Parties upon these

eight individuals to recommend to the Court for appointment, but Co-Lead Class Counsel

worked tirelessly for months so that the April 7, 2017 deadline was met. These physicians will

be advising the Special Masters and the Court. See Settlement Agreement § 2.1(g)-(h), 5.13, 6.4,

9.8 (ECF No. 6481-1), at 9, 34, 37-38, 52. Most immediately, however, these physicians will be

reviewing certain claims where the diagnoses were made prior to the Effective Date to determine

whether they are satisfactory Qualifying Diagnoses under the Settlement and will, in some

instances, resolve disputes between BAP Providers as to the existence (or not) of a Qualifying

Diagnosis.




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       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 41 of 77



       7. Selection and Orientation of Hundreds of Individuals to Serve as Qualified BAP
          Providers and Qualified MAF Physicians and Maintenance of These Physician
          Networks

       The time-consuming vetting process associated with the selection of those who will serve

as Qualified BAP Providers and Qualified MAF Physicians has led to the initial launch of the

MAF network and preliminary establishment of the BAP Provider network while Class Counsel

and the other relevant parties continue to recruit and contract with additional physicians and

providers. Class Counsel have been participating in this work on virtually a daily basis since the

Effective Date and fully expect that the BAP Administrator will remain on track to begin

scheduling BAP examinations as of May 7, 2017, with the BAP opening on June 6, 2017. On

April 7, 2017, the list of Qualified MAF Physicians who are authorized to make post-Effective

Date Qualifying Diagnoses was made available on the Settlement Website. These were daunting

tasks, but they have been accomplished.

       Working with the BAP Administrator, the Claims Administrator, the NFL Parties and its

own experts, Class Counsel have developed the services agreement that each physician and

provider will need to sign to serve in the networks. Through this same process, the parties have

prepared the manuals that will be used by each of the administrators to train the physicians and

providers on the medical aspects of the settlement, including the testing regimen at the heart of

the BAP Program and what constitutes a Qualifying Diagnosis for the MAF.

       Maintaining these networks over the life of the Settlement will require the same kind of

engagement in recruiting new physicians and providers as the Settlement, like the Retired NFL

Players and the original physicians and providers, age.




                                                30
          Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 42 of 77



          Moreover, Class Counsel will be actively monitoring and reviewing of these networks to

ensure that the Retired NFL Football Players are receiving the care and services that they deserve

under the Settlement.

          8. Participation on Class Members’ Behalf in the Appeals Process

          Given the Settlement’s 65-year term and the volume of claims that will be submitted,

appeals of Monetary and Derivative Claimant Award determinations will inevitably be filed, be

they disputes of benefit denials or about the amount of an award, and there will likely be appeals

of registration denials as well. Besides Class Members themselves, Co-Lead Class Counsel have

standing under the Settlement to appeal monetary award determinations. Settlement Agreement

§ 9.5 (ECF No. 6481-1), at 51. Class Counsel will be called upon to provide assistance to

unrepresented Class Members and to represented Class Members’ individually-retained counsel.

Because Class Counsel will gain experience in the appeal process over time, their assistance will

be essential to Class Members who will face counsel for the NFL Parties on the opposing side.

Co-Lead Class Counsel also have the authority to make formal submissions in support of appeals

taken by Class Members. Settlement § 9.7(c) (ECF No. 6481-1), at 52. As with their authority

to file appeals, exercise of this authority will help to establish a decisional body that will

facilitate the delivery of benefits to the Class. Conversely, Co-Lead Class Counsel also have the

authority to oppose appeals of awards made to Class Members that the NFL Parties may take,

which is as important to protecting the rights of Class Members as the appeals taken on their

behalf.




                                                31
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 43 of 77



       9. Monitoring the NFL Parties’ Funding of and Targeted Reserves for the Settlement

       Class Counsel must continue to monitor the funds and insure that the NFL Parties comply

with the funding and maintenance of targeted reserves for the MAF and BAP, as well as

monitoring the Settlement Trust and the Trustee, under Article 23 of the Settlement.

       10. Establishing Procedures for and Participation in Periodic Audits of All Aspects of the
           Program, Including Medical Providers and Administrators

       As with any program of this magnitude and duration, auditing procedures will need to be

established to insure that all work done by the various parties engaged in the Settlement Program

for the benefit of the Class Members is being done with efficiency and professionalism. The

sheer scope of the activities and participants, including each member of the physician networks,

will demand significant time to perform the auditing functions. Because it is anticipated that the

NFL Parties will be engaging in such audits, it is important also to have Class Counsel involved.

       11. Replacing the Qualified BAP Providers and Qualified MAF Physicians, Appeals
           Advisory Panel Members, and Appeals Advisory Panel Consultants

       Inevitably, in light of the Settlement’s 65-year term, physicians who have been selected

to serve in the various roles will need to be replaced, whether for reasons of retirement,

disability, death, or simply because they decide they no longer wish to participate in the

Settlement Program. The vetting and selection of replacement physicians is common benefit

work that will need to be repeated hundreds of times over the 65-year life of the Settlement.

Class Counsel already have gained experience in this process, which will allow physicians to be

replaced quickly as they exit the Program.

       12. Revisiting of the Science Every Ten Years

       The Settlement requires that the Settling Parties revisit the science every ten years to

discuss in good faith the possible prospective modifications to the definitions of the Qualifying



                                               32
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 44 of 77



Diagnoses or the protocols for making Qualifying Diagnoses (or both), in light of generally

accepted advances in medical science. Settlement Agreement § 6.6 (ECF No. 6481-1), at 35.

Necessarily, this will require Class Counsel to independently consult with medical and scientific

experts to keep abreast of developments in these areas over time.

                                     * * * * *

       In light of all of the common benefit work that already has been done post-Effective Date

and that will undeniably need to be accomplished in the future, it is eminently reasonable to

establish the Set-Aside Fund now.

   D. Certain Objectors’ Suggestion That the Attorneys’ Fees Qualified Settlement Fund
      Is Sufficient to Compensate Counsel for All Post-Effective Date Common Benefit
      Work

       Certain objectors maintain that the $112.5 million 30 that the NFL Parties agreed to pay to

Class Counsel for common benefit work performed prior to the Effective Date should also cover

the fees and expenses for the common benefit work that has been and will be performed since the

Effective Date. E.g., ECF No. 7161 (Objector Miller), at 7 (claiming that the $112.5 million is

“more than sufficient . . . to cover all reasonable fees that Class Counsel may incur, whether for
       30
           Some objectors improperly inflate the Class Counsel’s potential compensation from
funds paid by the NFL Parties to $128.5 million by disingenuously adding the Notice Costs and
Administrative Costs to be paid by the NFL Parties to the $112.5 million for Class Counsel
compensation funded by the NFL. See ECF No. 7282 (Blizzard Objectors), at 2, 5-6; ECF No.
7344 (55 Players), at 3, 5. They likely do this so that they can represent that the total amount
potentially to be paid to Class Counsel for pre-Effective Date common benefit work represents a
higher multiplier of their lodestar than the 2.6 multiplier represented in Class Counsel’s opening
papers. ECF No. 7151-1, at 67. Notice Costs and Administrative Costs, however, are plainly not
part of the compensation to Class Counsel for common benefit work. The benefit of those costs
being separately paid by the NFL Parties (a benefit that Class Counsel negotiated) inures to the
benefit of Class Members, who would otherwise be taxed with such costs from the recovery.
E.g., In re Penn Cent. Secs. Litig., 560 F.2d 1138, 1146 (3d Cir. 1977) (unless class plaintiffs
bargain with defendants to pay costs of notice, proper to assess cost against settlement fund);
Radcliffe v. Experian Info. Sols. Inc., 715 F.3d 1157, 1162 (9th Cir. 2013) (settlement fund
proceeds would be distributed to class members after costs of settlement administration were
deducted). It clearly does not inure to Class Counsel’s benefit.

                                               33
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 45 of 77



common benefit work, or for clerical work on their individual client’s claims, for the next 65

years”); ECF No. 7350 (Neurocognitive Football Lawyers, PLLC), at 2 (taking issue with the

fact that this case involves an “immediate and fully paid defined fee benefit and a subsequent

substantial fee set aside”) Such a suggestion is not realistic, reasonable, or fair.

       The pre-Effective Date common benefit work was very different than, and thus should be

compensated differently and separately from, the post-Effective Date common benefit work. See

Section III.C, supra (detailed description of post-Effective Date common benefit work). Any

comparison by objectors to cases in which post-effective date “common benefit work” consisted

of a mere hand-off to a claims administrator are inapposite. As described above, Class Counsel

will necessarily play a very active role and there will be vital and time-consuming work to be

done for the next 65 years to keep the Settlement Program functioning

       Class Counsel’s opening papers and the foregoing discussion provide ample justification

for the Court’s award of the $112.5 million in fees and expenses that the NFL Parties will pay

related to common benefit work performed and expenses incurred prior to the Effective Date.

The lodestar and expenses submitted in support of the requested $112.5 million common benefit

fee and expense award were through December 28, 2016 only. See Seeger Decl., dated Feb. 13,

2017 (ECF No. 7151-2), at Addenda 1-2 and Exs. C-X. Therefore, the only fees and expenses

that will be used as the bases for petitions for reimbursement from the Set-Aside Fund in the

future will be expenses incurred and work performed after December 28, 2016. There is simply

no danger of “double-dipping.”

   E. Certain Objectors’ Suggestion That They Should Not Have to Pay for Post-Effective
      Date Common Benefit Work at All

       Class Counsel recognize that for unrepresented Class Members and for those Class

Members whose individually-retained counsel have elected to waive their contingent fees, the


                                                 34
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 46 of 77



5% set-aside will come out of the Class Member’s share. It is nonetheless fair, however, that

they too contribute to the post-Effective common benefit work being done to benefit the Class.

       Those who already have Qualifying Diagnoses contend that they have not reaped and will

not reap the benefit of any common benefit work done after the Effective Date. See, e.g., ECF

No. 7351 (Objector Sabal), at ¶¶ 7-9 (pro se Class Member with alleged Alzheimer’s diagnosis

asserting that post-Effective Date work does not benefit him); ECF No. 7205 (Turner), at 5

(claiming no further work required for Turner’s claim to be paid); ECF No. 7360 (Hilgenberg

and Duranko Estates), at 5 (estates of deceased Retired NFL Football Players who take issue

with holdback because they purport to have obtained ALS diagnoses prior to their deaths). That

is not true. Without the common benefit work performed to facilitate registration and claims

processing, as well as the establishment of the Appeals Advisory Panel, even those with a

diagnosis obtained prior to the Effective Date could not reap the Settlement’s benefits. Indeed,

the Appeals Advisory Panel must evaluate such diagnoses in order to determine whether they are

truly Qualifying Diagnoses in accordance with the Settlement. Furthermore, the contention of a

lack of benefit to these Class Members presupposes that they will not need to avail themselves of

the appeals process, which would involve additional common benefit work.

       Finally, the concept that those who purportedly already have Qualifying Diagnoses (a

fact not established until the Appeals Advisory Panel declares the diagnosis as such) should not

have to contribute towards the future operation of the Settlement ignores the concept and

construct of a class action settlement, particularly this one. The NFL Parties wanted global

peace, both as to those who already manifested a neurocognitive or neuromuscular impairment

and those who had not. Without the resolution of Subclass 1 claims, there would have been no

settlement. The need to resolve the claims of those Class Members in Subclass 1 (i.e., those



                                               35
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 47 of 77



Class Members without a Qualifying Diagnosis prior to the Preliminary Approval date) required

a program to address them. Thus, it is fair that all Class Members contribute their fair share

towards the common benefit work required to implement and maintain a Settlement that provides

benefits to the members of both Subclasses.

IV. THE THREE OBJECTOR PETITIONS FOR ATTORNEY’S FEES

   A. The High Standards for Awarding Fees to Objectors

       There is something outlandish about parties who fought to scuttle the Settlement now

asking to be paid for acting to the detriment of the Class. These objectors delayed compensation

to the Class by objecting in this Court, appealing, seeking en banc review, and seeking

certiorari. The key to an award of attorneys’ fees is that the lawyers delivered benefit to the

class. Here, these attorneys hurt Class Members. If they truly believe that they had improved

the deal, then they should have supported it on appeal. But they objected and lost. In the words

of an old pop song, “Did you ever have to make up your mind? And pick up on one and leave

the other behind?” Objectors should get nothing.

       Not surprisingly, there is no body of law supporting money for losing objectors, though

they are often found reaching, palms outstretched. Objectors to a class action settlement are

“‘not generally entitled to an award of counsel fees.’” McDonough v. Toys R Us, Inc., 80 F.

Supp. 3d 626, 658 (E.D. Pa. 2015) (“[C]ourts rarely award attorneys’ fees to objectors.”),

appeals dismissed, Nos. 15-1456 (3d Cir. June 12, 2015), 15-1532 (Oct. 29, 2015), 15-1455

(Nov. 2, 2015); accord id. at 661 (“[C]ourts rarely award attorneys’ fees to objectors.”); Newman

v. Stein, 58 F.R.D. 540, 543-44 (S.D.N.Y. 1973) (“[C]ounsel fees for an objector’s counsel when

the objections are overruled are granted only in exceptional circumstances.”).




                                               36
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 48 of 77



       The limited exception is that objectors may be “entitled to compensation for attorneys’

fees and expenses if the settlement was improved as a result of their efforts.” McDonough, 80 F.

Supp. 3d at 658 (emphasis added); accord id. at 660 n.35 (“District courts within the Circuit

have generally considered the value added to the settlement, if any, by the objectors.”) (citing

cases); Dewey v. Volkswagen of Am., 909 F. Supp. 2d 373, 395 (D.N.J. 2012) (“[O]bjectors must

have economically benefitted the class or, at the very least, shown that a court adopted their

objection.”), aff’d, 558 F. App’x 191 (3d Cir. 2014).

       The burden is on the objector to so demonstrate. Faught v. Am. Home Shield Corp., 444

F. App’x 445, 446 (11th Cir. 2011); see In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-

1827 SI, 2013 WL 1365900, at *15 (N.D. Cal. Apr. 3, 2013) (objector “ha[d] not met her burden

in establishing that she conferred a substantial benefit to the class”), appeal dismissed, No. 13-

16216 (9th Cir. June 12, 2014); In re Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine)

Prods. Liab. Litig., No. 1203, 2002 WL 32154197, at *15 (E.D. Pa. Oct. 3, 2002) (objectors’

counsel not entitled to fee award where they “failed to show that their supplemental objections

actually conferred a benefit on the settlement class”). The objector must offer specific proof as

to “what its efforts were, how they created a benefit, and why that benefit would not have been

created absent its efforts.” In re Cendant Corp. Sec. Litig., 404 F.3d 173, 200 (3d Cir. 2005).

       The Third Circuit has noted that district courts enjoy “broad discretion” in determining

whether objectors should be awarded fees. In re Cendant Corp. Sec. Litig., 404 F.3d at 201 n.17;

In re Cendant Corp. PRIDES Litig., 243 F.3d 722, 743 (3d Cir. 2001). Because an objector

“makes his objection to the court, rather than merely negotiating with lead counsel, the court can

easily evaluate not only the quality of the objector’s work but also the impact it had on the




                                                37
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 49 of 77



court’s ultimate decision,” and it is thus “able to measure the dollar value of the objector’s

contribution to the class’s net recovery.” In re Cendant Corp. Sec. Litig., 404 F.3d at 201 n.17.

       Importantly, objectors must produce an improvement in the settlement “worth more than

the fee they are seeking; otherwise they have rendered no benefit to the class.” Reynolds v.

Beneficial Nat’l Bank, 288 F.3d 277, 288 (7th Cir. 2002) (citing cases); accord Arnett v. Bank of

Am., N.A., No. 3:11-CV-1372-SI, 2014 WL 5419125, at *2 (D. Or. Oct. 22, 2014); Fraley v.

Facebook, Inc., 2014 WL 806072, at *2 (N.D. Cal. Feb. 27, 2014), aff’d, 638 F. App’x 594 (9th

Cir. 2016), cert. denied, 137 S. Ct. 68 (2016); In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No.

01-CV-01451-REB-CBS, 2007 WL 2087536, at *2 (D. Colo. July 17, 2007); see also David F.

Herr, Annotated Manual for Complex Litigation, Fourth § 21.643, at 437 (rev. ed. 2016)

(cautioning that “[f]ee awards made on the basis of insignificant or cosmetic changes in the

settlement serve to condone and encourage improper use of the objection process”).

       In all, “[c]ases in which objectors are awarded attorney’s fees are few and far between.”

Spark v. MBNA Corp., 289 F. Supp. 2d 510, 513 (D. Del. 2003); Martin v. Foster Wheeler

Energy Corp., No. 3:06-CV-0878, 2008 WL 906472, at *10 (M.D. Pa. Mar. 31, 2008); Mirfasihi

v. Fleet Mortg. Corp., No. 01 C 722, 2007 WL 2608778, at *5 (N.D. Ill. Sept. 6, 2007), aff’d,

551 F.3d 682 (7th Cir. 2008).

   B. The Three Objector Cross-Petitions

       1. The Faneca Objectors’ Petition

       Not long ago, the Faneca Objectors 31 castigated the class-wide Settlement as “a

capitulation” and “a sell-out.” ECF No. 6201, at 16, 84. 32 Among the many accusations they


       31
         The Faneca Objectors (formerly known as the Morey Objectors) are Class Members
Alan Faneca, Ben Hamilton, Robert Royal, Roderick “Rock” Cartwright, Jeff Rohrer, and Sean
Considine, who unsuccessfully sought to formally intervene in this litigation (ECF Nos. 6019,
                                                                    (Footnote continued . . .)

                                                38
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 50 of 77



levelled was that, motivated by the desire for pecuniary gain, Class Counsel had conducted a

misleading “propaganda” campaign in support of final approval. See id. at 63 (asserting that

“Class Counsel – who stand to receive a huge payday upon approval – have falsely described the

Settlement to the media.”) (emphasis added); id. at 16 (complaining that the NFL “gets a near-

absolute release without providing adequate and reasonable compensation in return,” while

“Class Counsel . . . get an extraordinary fee”). Moreover, before the Third Circuit they accused

Class Counsel of having done “very little work.” Seeger Supp. Decl., Ex. AA, at 18 (Third

Circuit 23(f) Petition).

        Twenty-seven months after hurling these accusations, the Faneca Objectors were back in

this Court. Only now, however, their tune had changed. They had reinvented themselves as

virtual co-architects of the Settlement, and their pitch was that a number of modest adjustments

to and clarifications of the Settlement to which the Settling Parties agreed after the Rule 23(e)(2)

Fairness Hearing – all of which were proposed by the Court (ECF No. 6479) – merit an outsized

reward of $20 million, which is almost one-fifth of the Attorneys’ Fees Qualified Settlement

Fund established under the Settlement to compensate Class Counsel, and of the approximately

$106.82 million in fees requested by Class Counsel. 33 Compare Faneca Objectors’ Mem. of



6107), and who filed objections to the Settlement on October 6, 2014 (ECF No. 6201; see also
ECF Nos. 6232, 6455, 6469-70). Three of their cohorts, including the former lead objector in
this faction (Sean Morey), dropped out as objectors in favor of opting out of the Class. See ECF
No. 7070-1, at 14 n.11; see also ECF No. 6507-1, at 2, 4 (Claims Administrator’s Eighth Opt-
Out Report, noting timely opt-outs of Sean Morey, Ben Hamilton, and Robert Royal).
        32
          Except where otherwise noted, where documents filed on the Court’s ECF system are
cited, page number references thereof are to the ECF pagination rather than the pagination at the
bottom of the original document.
        33
             See Settlement Agreement §§ 21.2, 23.7 (ECF No. 6481-1), at 82, 90 82 (providing,
inter alia, that “the NFL Parties’ obligation to pay class attorneys’ fees and reasonable costs is
                                                                     (Footnote continued . . .)

                                                39
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 51 of 77



Law in Support of Pet. for an Award of Attorneys’ Fees and Expenses [ECF No. 7070-1]

(“Faneca Br.”) at 31, 37, 39, 47-48 with ECF No. 7151, at 3, 56. 34 This is simply ludicrous.

            a. The Faneca Objectors Wrongly Take Credit for the Post-Hearing
               Modifications to the Settlement

       As an initial matter, in both their petition and their preliminary response to both other

objections and the Armstrong Objectors’ cross-petition for a fee award, 35 the Faneca Objectors

gloss over the salient fact that they were not out to improve the Settlement but to torpedo it.

They challenged it at the preliminary approval stage (including by trying to take an interlocutory

appeal via a Rule 23(f) petition), as well as at the final approval stage. Nor were they content

with the improvements that they now extol and robustly value at anywhere from $102.5 to

$120.4 million but, instead, appealed this Court’s final approval decision to the Third Circuit. In

short, they sought to block the Settlement, vigorously asserting alleged intra-class conflicts and

dismissing the deal as a “sell-out.” They do not deserve to be compensated for their aggressive –

and fortunately unsuccessful – campaign. As one court aptly put it, “it is difficult to perceive


limited to those attorneys’ fees and reasonable costs ordered by the Court as a result of the initial
petition by Class Counsel”) (emphasis added); Order filed Mar. 7, 2017 (ECF No. 7246).
       34
           Citations to the Faneca Objectors’ brief in support of their fee petition are to the page
numbers of the original document, not the ECF pagination.
       35
          The “Armstrong Objectors” are Class Members Raymond Armstrong, Larry Barnes,
Larry Brown, Drew Coleman, Kenneth Davis, William B. Duff, Kelvin Mack Edwards, Sr.,
Phillip E. Epps, Gregory Evans, Charles L. Haley, Sr., Mary Hughes, James Garth Jax, Ernest
Jones, Michael Kiselak, Dwayne Levels, Darryl Gerard Lewis, Gary Wayne Lewis, Jeremy
Loyd, Lorenzo Lynch, Tim McKyer, David Mims, Clifton L. Odom, Evan Ogelsby, Solomon
Page, Hurles Scales, Jr., Barbara Scheer, Kevin Rey Smith, Willie T. Taylor, George Teague,
and Curtis Bernard Wilson, who filed objections to final approval of the Settlement (ECF Nos.
6233 [am. initial objections], 6503 [supplemental objections]); unsuccessfully appealed this
Court’s Final Approval decision to the Third Circuit (ECF No. 6551 [notice of appeal]); and then
unsuccessfully petitioned the Supreme Court to review the Third Circuit’s decision affirming this
Court, Armstrong v. NFL, 137 S. Ct. 607 (2016) (No. 16-413) (denying certiorari).



                                                 40
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 52 of 77



why a lawyer should be awarded fees for a settlement that he or she is trying their best to see is

never paid to the class members.” Zawikowski v. Beneficial Nat’l Bank, No. 98 C 2178, 2001

WL 290402, at *1 (N.D. Ill. Mar. 22, 2001).

       At any rate, as noted above, it was the Court that proposed the changes for which the

Faneca Objectors want $20 million. See Section IV.B.1, supra. Not surprisingly, courts have

uniformly declined to award attorneys’ fees to objectors where they did not rely on the objectors’

arguments or where an objector’s suggestions merely coincided with the court’s. See In re

Polyurethane Foam Antitrust Litig., 169 F. Supp. 3d 719, 721, 723 (N.D. Ohio 2016) (denying

fees to objector where court “decided these issues on its own”; “[t]his Court’s analysis was not

substantially enhanced because of [the] Objection, nor was the fee reduction ordered by this

Court attributable to [objector’s] arguments”) (emphasis in original); In re Countrywide Fin.

Corp. Customer Data Sec. Breach Litig., No. 3:08-MD-01998, 2010 WL 3328249, at *2 (W.D.

Ky. Aug. 24, 2010) (“There was no cause and effect between the decisions of this case and the

action of the [objector], even if at times it coincided with some of the [objector’s] suggestions”);

In re Currency Conversion Fee Antitrust Litig., 263 F.R.D. 110, 132 (S.D.N.Y. 2009) (denying

objectors’ counsels’ request for fees because modifications to notice program “were entirely on

the Court’s initiative and devised by the Special Master and the parties”), aff’d sub nom.

Priceline.com, Inc. v. Silberman, 405 F. App’x 532 (2d Cir. 2010); In re Excess Value Ins.

Coverage Litig., 598 F. Supp. 2d 380, 393 (S.D.N.Y. 2005) (denying objectors’ fee application

where “[f]undamentally, the Court needed little or no assistance from the Objectors” in

determining changes to class counsel’s fee application).

       At a minimum, where a court itself contemplated the same points raised by objectors “the

significance of [the objectors’] efforts is sharply reduced under the circumstances” and warrants



                                                41
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 53 of 77



reduced compensation. In re New Motor Vehicles Canadian Exp. Antitrust Litig., 842 F. Supp.

2d 346, 351 (D. Me. 2012) (reducing award by almost one-half that requested by objector;

although objector “must decide whether to object without knowing what objections may be moot

because they have already occurred to the judge,” where court had already been disposed

towards change urged by objector “the significance of his efforts is sharply reduced under the

circumstances”) (citation and internal quotation marks omitted).

       Simply stated, the Faneca Objectors “have vastly overstated the role they played in this

case.” Azizian v. Federated Dep’t Stores, Inc., No. C-03-3359 SBA, 2006 WL 4037549, at *2

(N.D. Cal. Sept. 29, 2006) (internal quotation marks omitted); accord In re Cardinal Health, Inc.

Secs. Litig., 550 F. Supp. 2d 751, 753 (S.D. Ohio 2008) (objectors “drastically overestimated

their value”). Accordingly, the Court should deny their petition or, at most, grant a de minimis

award consistent with a de minimis contribution to the Class.

           b. The Faneca Objectors Overvalue the Post-Fairness Hearing Changes to the
              Settlement

       Time and again, the Faneca Objectors’ contentions cry out for a reality check. The

assertion that the modifications for which they seek credit (leaving aside whether they are in fact

entitled to any credit) added anywhere from $102.5 to $120.4 million in value to the Settlement

is pure fantasy. See Faneca Br. (ECF No. 7070-1), at 20-28; ECF No. 7366-1, at 7 (Decl. of

CPA Joseph J. Floyd).

       As demonstrated by the accompanying Updated Analysis of Dr. Vasquez, see Seeger

Supp. Decl., Ex. JJ, the change of the Death with CTE Monetary award date, the crediting of

NFL Europe playing time towards Eligible Seasons (see Settlement Agreement § 2(kk), ECF No.

6481-1, at 13), and the assurance of funding to provide BAP examinations to all Class Members

(see Settlement Agreement § 23.3(d), ECF No. 6481-1, at 87), were cumulatively worth


                                                42
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 54 of 77



approximately less than half the value that the Faneca Objectors and their putative expert have

ascribed to those changes. Vasquez Updated Analysis at 3 (Table 1). 36 The Faneca Objectors’

valuation arguments rest on untenable assumptions, such as their speculation that 96% of the

former NFL Football Players who died between July 2014 and April 2015 would have had CTE

so as to qualify for a “Death with CTE” award, Faneca Br. at 32-33, even though no medical

evidence had been adduced relating to those Class Members. The argument is simply a rehash of

the objectors’ arguments prior to Final Approval that CTE should in and of itself be compensated

because most players have it allegedly have it, an unproven contention resting on shaky scientific

evidence. 37

       The Faneca Objectors’ contention that the appeal fee waiver for hardship added almost

$11 million in value to the Settlement is based on even flimsier speculation. See ECF No. 7070-

1, at 27-28. Their putative expert merely parrots this same speculation. See ECF No. 7366-1, at

15-16 (CPA Floyd’s assumption of same appeal rate as for NFL’s disability program). There is

simply no way to tell how many Class Members will need to appeal Monetary or Derivative

Claimant Award determinations, let alone how many will have financial circumstances that

necessitate recourse to the hardship waiver. In this respect, the Faneca Objectors’ drawing of


       36
            In this respect, Class Counsel rely on the accompanying valuation performed by Dr.
Vasquez, an economist with longstanding expertise in this field who has engaged in developing
economic models for U.S. and foreign governments, and who has been consulted in numerous
litigations and whose Declaration accompanies this memorandum. Earlier, Dr. Vasquez had
prepared a valuation of the Settlement that Class Counsel filed with the Court in support of Final
Approval. See ECF No. 6423-21. By contrast, the valuation that the Faneca Objectors have
submitted is from a CPA having no demonstrable experience in the specific realm of settlement
valuations. See ECF No. 7366, at 5-6.
       37
           This argument also ignores that a Class Member who died between July 2014 and
April 2015 and received a post-mortem CTE diagnosis also might have been diagnosed years
prior, while younger, with another Qualifying Diagnosis, like ALS or Parkinson’s Disease. See
Updated Analysis of Dr. Vasquez (Seeger Supp. Decl., Ex. JJ), at 8 n.6.

                                               43
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 55 of 77



parallels between the NFL’s disability program and the claims process for MAF benefits is a

proverbial apples-to-oranges comparison. The Monetary and Derivative Awards programs will

not be run under the NFL’s auspices but, rather, by an independent Court-appointed

Administrator (ECF No. 6534, at ¶ 13 [confirming appointment of BrownGreer PLC as Claims

Administrator]), and Class Counsel’s role in overseeing the Settlement’s implementation and

ensuring fair treatment of Class Members need not be discussed again here. The Court is well

aware of it. Any suggestion that the appeal rate will be the same as for the NFL’s disability

program is pure conjecture.

       Finally, the provision relieving Representative Claimants from having to submit medical

records where a deceased NFL Football Player had received a Qualifying Diagnosis while he

was still alive but his medical records are unavailable due to a force majeure type of event

(Settlement Agreement § 8.2(a)(ii), ECF No. 6481-1, at 43-44) simply cannot be valued because

there is no way to predict the number of instances where recourse to this provision will be

necessary, let alone to estimate the value of the benefits at issue for those claims. In any event,

even the Faneca Objectors do not claim credit for this modification.

           c. The Fee Request Is Excessive

       The Faneca Objectors contend that the $20 million award that they seek is reasonable

given their $4,312,565 lodestar. Faneca Br. (ECF No. 7070-1), at 39-48. In other words, they

seek a lodestar enhancement double that of Class Counsel, even though the bulk of their time

was spent on losing.

       Because objectors play a much more limited role in class action litigation than do class

counsel, courts do not treat their fee petitions as if they were class counsel and award them fees

for all of their work conducted in the course of the litigation. Instead, any fees must be limited to



                                                 44
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 56 of 77



that work which reflects the value the objectors conferred upon the class. Spark, 289 F. Supp. 2d

at 513; In re Prudential Ins. Co. of Am. Sales Practices Litig., 273 F. Supp. 2d 563, 565 (D.N.J.

2003) (objectors “played a different role in this litigation from that of Class Counsel”; hence

court would not treat objectors’ fee petition “as if they were class counsel” and objectors would

“not be awarded fees for all of their work conducted in the course of this matter”), aff’d, 103 F.

App’x 695 (3d Cir. 2004); see In re Puerto Rican Cabotage Antitrust Litig., 815 F. Supp. 2d 448,

467-68 (D.P.R. 2011) (denying as “clearly excessive” objectors’ request for same percentage

share of increased recovery for class as 23% of common fund granted to lead counsel because

“[o]bjectors[’] substantive participation in this litigation was for a much more limited scope and

duration than Lead Counsel’s” and they “did not have the responsibility of organizing the Class

or defending against motions to dismiss or a host of Lead Counsel’s other obligations”); In re

Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 359 (N.D. Ga. 1993) (“An appropriate fee

award for objectors . . . would compensate counsel for the reasonable fees and expenses actually

accrued in pursuit of their objections, nothing more” where objectors’ counsel “did not work

over the course of three years against a vigorous defense in pursuit of complex and unique

claims, nor did counsel shoulder the financial burden of pursuing the action. Instead, objectors

argued the nuances of the settlement during the twilight of this litigation.”).

       Indeed, courts, including in this Circuit, typically have either reduced the claimed

lodestars of objectors’ counsel, refused to award them multipliers altogether (or applied

multipliers substantially less than the factor sought), or both in order to account for unsuccessful

endeavors or for the shorter time span of their involvement in the litigation.          E.g., In re

Riverstone Networks, Inc., 256 F. App’x 168, 170 (9th Cir. 2007) (district court acted within its

discretion “when it discounted hours [claimed by objector’s counsel] that did not benefit the



                                                 45
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 57 of 77



class”); In re MetLife Demutualization Litig., 689 F. Supp. 2d 297, 368 (E.D.N.Y. 2010)

(reducing objector’s lodestar to account for time expended on issues that produced no benefit to

the class); Park v. Thomson Corp., 633 F. Supp. 2d 8, 13 (S.D.N.Y. 2009) (declining to award

multiplier because, unlike “class counsel’s involvement with this action since filing the

complaint . . . and the significant risks attendant to the litigation,” objector “did not appear in this

action until three years later and the time that he devoted to this matter spanned a far shorter

interval”); Parker v. Time Warner Entm’t Co., 631 F. Supp. 2d 242, 278-79 (E.D.N.Y. 2009)

(reducing objectors’ counsel’s lodestar by one-half and declining to award multiplier given

“immodesty of . . . Counsel’s fee petition” that was “astonishing” and counsel’s “exaggerated”

conception of scope of changes attributable to objection); In re Prudential Ins. Co. of Am. Sales

Practices Litig., 273 F. Supp. 2d 563, 565 (D.N.J. 2003) (“Objectors will not be awarded fees for

all of their work conducted in the course of this matter. Instead, the Court will follow precedent

and award fees which reflect the value the Objectors conferred upon the class.”), aff’d, 103 F.

App’x 695 (3d Cir. 2004); In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, 2016

WL 6909680, at *8 (N.D. Cal. Oct. 24, 2016) (rejecting objector’s request for 3.0 lodestar

multiplier, and weighing his contributions – his raising of “colorable criticisms” of certain

features of settlement and “the potential assistance his experience and skill might have brought to

the Class had Lead Counsel welcomed it – against his “lack of meaningful involvement in the

case, his running antagonism with Lead Counsel, and his ultimate filing of unmeritorious and

potentially harmful objections,” and applying lodestar multiplier of 1.15); Mirfasihi, 2007 WL

2608778, at *6-7 (noting that objectors had “burdened the court at least as much as they ha[d]

helped it” and reducing award “to account for the burden that the objectors ha[d] placed on all

parties involved”); see also Lobur v. Parker, 378 F. App’x 63, 64-65 (2d Cir. 2010) (district



                                                  46
        Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 58 of 77



court acted within its discretion in reducing objectors’ lodestar and refusing to award multiplier

“as a reasonable means of tailoring the fee award so as to more accurately reflect a reasonable

value of the time and effort contributed by [their] counsel with respect to the class settlement”);

Sobel v. Hertz Corp., 53 F. Supp. 3d 1319, 1333-35 (D. Nev. 2014) (awarding fees to objectors

based only on their lodestar, with no multiplier); Azizian, 2006 WL 4037549, at *10

(recommending application of negative multiplier of .3 to objectors’ lodestar “based upon the

limited extent of their contributions”); see also In re AOL Time Warner ERISA Litig., No. 02 CV.

8853 (SWK), 2007 WL 4225486, at *3 (S.D.N.Y. Nov. 28, 2007) (denying fees to objectors’

counsel where “the Objection contained arguments counterproductive to the resolution of the

litigation”).

                   (1) Most of the Faneca Objectors’ Work Should Not Be Compensated
                       Because It Did Not Benefit the Class
        Thus, even assuming that the Faneca Objectors were both (a) indeed the catalyst for

several of the post-Fairness Hearing amendments to the Settlement and (b) correct about the

value of those changes, they are still not entitled to the huge award they seek because most of

what they did – including all three of their appeals or putative appeals (among which were their

highly irregular Rule 23(f) petition, which the Third Circuit denied for lack of appellate

jurisdiction), their motion to intervene (ECF No. 6019), and their motion to take discovery of

Class Counsel (ECF No. 6169) – fell flat and achieved nothing for the Class, as the rival

Armstrong Objectors note. Armstrong Objectors’ Mem. of Law in Support of Their Pet. for an

Award of Attorneys’ Fees (ECF No. 7232) (“Armstrong Br.”) at 13. 38




        38
             Citations to this filing are to the ECF pagination.



                                                   47
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 59 of 77



       Among the Faneca Objectors’ many rejected contentions and unsuccessful filings were

the following:

            •    The Class was not adequately represented, including the contention that
                 despite the separate Subclasses, each having its own counsel, the Class did
                 not pass muster under Amchem Products, Inc. v. Windsor, 521 U.S. 591
                 (1997). Fan. Obj. 39 at 35-51. 40

            •    The failure to compensate CTE as such and the “arbitrary” limitation of
                 “Death with CTE” monetary awards to Class members who deceased prior
                 to the date of preliminary approval of the Settlement (later modified to
                 final approval). Fan. Obj. at 36-47. 41

            •    The Settlement’s 75% offset for non-NFL experienced traumatic brain
                 injury or stroke. Fan. Obj. at 47-49. 42

       39
            “Fan. Obj.” refers to pages of the Objection of Sean Morey, Alan Faneca, Ben
Hamilton, Robert Royal, Roderick “Rock” Cartwright, Jeff Rohrer, and Sean Considine to Class
Action Settlement, filed Oct. 6, 2014 (ECF No. 6201). Page references thereto are to the ECF
pagination.
       40
           The Court rejected this argument in a detailed discussion of the adequacy of both the
Subclass Representatives and Class Counsel. In re NFL Players’ Concussion Injury Litig., 307
F.R.D. at 373-79.
       41
           This argument ignored the consensus that the science of CTE is undeveloped, as this
Court found. See In re NFL Players’ Concussion Injury Litig., 307 F.R.D. at 397-98. As for the
cutoff date for “Death with CTE” awards being the date of final settlement approval, that
reflected the plain reality that the NFL was adamant throughout negotiations that it was not
willing to compensate for anything other than certain manifestations of neurocognitive and
neuromuscular diseases, but ultimately was willing to make an exception to allow CTE to serve
as a proxy for the manifestation for players who deceased prior to final approval, because those
players’ families were not similarly situated to living players, who could be tested and could
obtain a Qualifying Diagnosis under the Settlement. The Court discussed this reality at length.
Id. at 397.
       42
           This argument overlooked the fundamental principle that class-action settlements often
involve line-drawing among class members. See Milligan v. Toyota Motor Sales, U.S.A., Inc.,
No. C 09-05418 RS, 2012 WL 10277179, at *7 (N.D. Cal. Jan. 6, 2012) (“Of course, settlement
involves some line-drawing, and full compensation is not a prerequisite for a fair settlement.”)
(citation and internal quotation marks omitted). More to the point, it disregarded the fact that
strokes and brain traumas occur in the general population and cause harms regardless of whether
the individual ever played football, and that there are predictable neurocognitive impairments
that afflict an older population. As this Court found, these offsets were reasonable in light of the
                                                                     (Footnote continued . . .)

                                                 48
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 60 of 77




            •   The Class Notice was misleading, and inconsistent with both Rule 23(e)
                and Due Process requirements. Fan. Obj. at 52-63, 67-68. The Faneca
                Objectors characterized the Class Notice as “outright false.” Id. at 17. 43

            •   The lack of formal discovery weighed against final approval. Fan. Obj. at
                70-72. 44

            •   The NFL’s ability to withstand a judgment far greater than the value of the
                Settlement militated against approval. Fan. Obj. at 72-73; see also ECF
                No. 6420, at 3-9. 45

            •   The allegedly negative reaction of Class members to the Settlement
                warranted its rejection. Fan. Obj. at 74-75. 46




undisputed scientific evidence that there are independent factors that could break the causal link
between such impairments and football play. See In re NFL Players’ Concussion Injury Litig.,
307 F.R.D. at 379.
       43
          The Court also rejected these arguments, finding that the Class Notice was neither
confusing nor misleading and that it comported with both Rule 23 and due process requirements.
In re NFL Players’ Concussion Injury Litig., 307 F.R.D. at 382-86. The Third Circuit agreed.
In re NFL Players Concussion Injury Litig., 821 F.3d at 435-56.
       44
           This argument was oblivious to both the Court’s stay of formal discovery pending
resolution of the NFL’s motion to dismiss on federal preemption grounds (ECF No. 3384) and
the fulsome informal discovery that had taken place during the course of settlement discussions
and the formal mediation.
       45
           The Court determined this consideration to be no worse than neutral given the NFL’s
agreement to uncap the Monetary Award Fund. In re NFL Players’ Concussion Injury Litig.,
307 F.R.D. at 394. This not being a case in which the ability to pay was invoked as a limitation
on the settlement recovery, the Faneca Objectors’ argument was far from convincing. “[I]n any
class action against a large corporation, the defendant entity is likely to be able to withstand a
more substantial judgment, and, against the weight of the remaining [Girsh] factors, this fact
alone does not undermine the reasonableness of [a] settlement.” Sullivan v. DB Invs., Inc., 667
F.3d 273, 323 (3d Cir. 2011) (en banc) (citation and internal quotation marks omitted).
       46
            This contention bordered on the frivolous given that fewer than 1% of all Class
members lodged objections, and only another 1% opted out. See In re NFL Players Concussion
Injury Litig., 821 F.3d at 438. Many of the latter have since rescinded their opt-outs. See ECF
Nos. 7340-1 (at ¶¶ 5-6), 7374.


                                                49
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 61 of 77



            •   The prospects of establishing the NFL’s liability and the Class’s
                entitlement to damages – including the relative strengths and weaknesses
                of both Plaintiffs’ claims and the NFL’s defenses – also weighed against
                approval. Fan. Obj. at 76-83. 47

            •   Motions for leave to take discovery, including depositions of Co-Lead
                Class Counsel Christopher Seeger and the two Subclass Counsel, Arnold
                Levin and Dianne Nast, pertaining to the settlement negotiations. ECF
                Nos. 6169, 6211, 6461. 48

            •   A petition pursuant to Fed. R. Civ. P. 23(f) to obtain interlocutory review
                of the Court’s preliminary approval of the Settlement. 49

       47
           This argument pooh-poohed the NFL’s formidable defenses, which included federal
preemption, assumption of risk, statutes of limitations, statutory employer, and lack of general or
specific causation, the first of which it has successfully asserted in a number of lawsuits. See
ECF No. 7151-1, at 41 n.27 (citing cases).
       48
            The Court denied that motion before the Rule 23(e)(2) Fairness Hearing. ECF No.
6245. Discovery of class counsel by objectors is disfavored, and the Faneca Objectors
demonstrated nothing to warrant it. See Mars Steel Corp. v. Cont’l Ill. Nat’l Bank & Trust Co.
of Chicago, 834 F.2d 677, 684 (7th Cir. 1987) (discovery of class counsel “is proper only where
the party seeking it lays a foundation by adducing from other sources evidence indicating that the
settlement may be collusive”); In re Domestic Air Transp. Antitrust Litig., 144 F.R.D. 421, 424
(N.D. Ga. 1992) (“Objectors are not entitled to discovery concerning settlement negotiations
between the parties in the absence of evidence indicating that there was collusion between
plaintiffs and defendants in the negotiating process.”); Herr, Annotated Manual for Complex
Litigation, Fourth § 21.643, at 438 (“A court should not allow discovery into the settlement-
negotiation process unless the objector makes a preliminary showing of collusion or other
improper behavior.”) (footnote omitted).
       49
            The Third Circuit denied the 23(f) petition on September 11, 2014. ECF No. 6166. In
a subsequent opinion explaining the denial, the Court of Appeals’ majority held that the court
lacked appellate jurisdiction because this Court had “yet to issue ‘an order granting or denying
class certification,’” In re NFL Players’ Concussion Injury Litig., 775 F.3d 570, 588-89 (3d Cir.
2014), and even the dissenting judge agreed that the petition should be denied because the
Faneca Objectors were creating “inefficient (indeed, chaotic) piecemeal litigation that would
interfere with the formal fairness hearing on the settlement.” Id. at 589. Neither in their 23(f)
petition nor the reply in support thereof did the Faneca Objectors cite a single case in which a
circuit court had ever granted 23(f) review of a preliminary settlement approval order that
provisionally certified a settlement class. See Seeger Supp. Decl., Exs. AA-BB passim. Nor, in
the course of their attacking in their 23(f) petition the Class Notice that this Court had approved,
did they cite a single case in which a circuit court insinuated itself in the middle of the Rule 23(e)
final approval process and required a district court to redo class notice after preliminary
approval. See id., Exs. AA (petition) at 17, BB (reply) at 8. Indeed, the Faneca Objectors’
                                                                      (Footnote continued . . .)

                                                 50
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 62 of 77




             •   Their motion to intervene (ECF No. 6019). 50

             •   An appeal (ECF No. 6136) of this Court’s denial of their motion to
                 intervene. 51

             •   An unsuccessful appeal (ECF No. 6568) that challenged this Court’s
                 decision granting final approval to the Settlement. In re NFL Players
                 Concussion Injury Litig., 821 F.3d 410 (3d Cir. 2016), aff’g 307 F.R.D.
                 351 (E.D. Pa. 2015).

       To award the Faneca Objectors $20 million on the basis of a $4.3+ million lodestar built

up through so many failed arguments and filings would give them a huge windfall, unfairly

rewarding them for inundating this Court and the Third Circuit with this meritless barrage that

yielded no benefit to the Class. See Mirfasihi v. Fleet Mortg. Corp., 551 F.3d 682, 688 (7th Cir.

2008) (in determining whether to award fees to objectors, court must balance improvements they

produced “minus the detriment caused by their courtroom antics”); In re AT&T Corp. Sec. Litig.,

No. 00-5364 (GEB), 2006 WL 2786945, at *2 (D.N.J. Sept. 26, 2006) (denying fees where




misguided effort to have the Third Circuit order this Court to reissue notice would only have
sown immeasurable confusion among Class Members. In all, had the Faneca Objectors’
interlocutory review gambit succeeded, it would have unnecessarily prolonged this litigation by
years and delayed compensation for Class Members so desperately in need of relief. As it is,
Subclass 2 representative Kevin Turner would not live to see the resolution of the slew of
meritless appeals and certiorari petitions filed by the Faneca and Armstrong Objectors and
others that attacked the Settlement.
       50
            The Court denied this motion on July 29, 2014. ECF No. 6107.
       51
           The Faneca Objectors withdrew this appeal just one week after the Third Circuit’s
rebuff of their 23(f) petition. In re NFL Players’ Concussion Injury Litig., No. 14-3693 (3d Cir.
Order granting Fed. R. App. P. 42(b) mot. filed Sept. 18, 2014).



                                                51
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 63 of 77



“objections and subsequent appeal resulted in wasteful litigation and delayed the distribution of

funds to the Class”). 52

        It is because the Faneca Objectors’ claimed 6,300 hours, see Faneca Br. (ECF No. 7070-

1), at 5, 44, invariably reflect so much work on fruitless endeavors that, even accepting the

inflated value they place on those improvements, the hefty percentage of the asserted

improvements or of the total potential fee pool that they seek as a fee is plainly excessive. 53 As

the leading class action treatise notes, “[c]ourts are not very sympathetic” to awarding objectors

a percentage of what they have generated for a class “for the simple reason that a lodestar cross-

check tends to reveal that the objectors’ lawyers did not spend (or should not have spent) huge

amounts of time on the objection and hence that a percentage award would generate too high a

multiplier, or a windfall,” or “since most objections are litigated quickly, a percentage approach

is often likely to embody a windfall.” 5 William B. Rubenstein, Alba Conte & Herbert B.

Newberg, Newberg on Class Actions § 15.94, at 370 (5th ed. 2015) (emphasis added).


        52
           Although the Faneca Objectors have not broken down their time submissions by
specific tasks or projects, their counsel’s supporting papers implicitly acknowledge that a huge
chunk of the claimed 6,300 hours were invested in these failed endeavors. See, e.g., Molo Decl.
at ¶¶ 14-18, 24, 35-41 (ECF No. 7070-2, at 5-7, 9, 15-17) (acknowledging his firm’s work on
unsuccessful intervention motion, opposition to preliminary approval, Third Circuit appeals,
motion to take discovery of Class Counsel, and negotiations with NFL); Declaration of William
T. Hangley, dated Jan. 9, 2017 (ECF No. 7070-2, at 59-60), at ¶¶ 6, 9 (acknowledging assistance
on unsuccessful intervention motion, opposition to preliminary approval, and Third Circuit
appeals); Declaration of Linda S. Mullenix, dated Jan. 9, 2017 (ECF No. 7070-2, at 80), at ¶¶ 6,
8 (same). At any rate, this conclusion is inescapable given the plethora of unsuccessful filings
and arguments catalogued above.
        53
             Co-Lead Class Counsel wish to be clear here that they are not suggesting that the
hours claimed by the Faneca Objectors’ counsel were not genuinely expended. Nor are they
calling into question the reasonableness of the time it took to put together various filings, the
quality of their work, or the reasonableness of counsel’s hourly rates. Rather, the point here is
that the Faneca Objectors cannot be compensated for so much unsuccessful work because
objector counsel simply do not stand on an equal footing with court-appointed attorneys for a
class in matters of compensation.

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       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 64 of 77



Consequently, if the Court determines that some award to the Faneca Objectors is in order, the

Court should steeply reduce their counsels’ lodestar. Alternatively, or in addition, the Court

should apply a negative multiplier to their lodestar. See Section IV.B.1.c(2), infra.

                  (2) The Requested $20 Million Award Would Result in More Favorable
                      Treatment of the Faneca Objectors Than of Class Counsel
       Not only was so much of the Faneca Objectors’ time invested in futile efforts and

arguments that did not benefit the Class, but also even accepting the value that they place on the

post-Fairness Hearing modifications to the Settlement, the Faneca Objectors’ request for nearly

one-fifth of the Attorney’s Fees Qualified Settlement Fund represents more than twice the

roughly 9% of the Settlement’s benefit value that the NFL has agreed to pay in fees and which

Class Counsel are seeking for all of their work in the case, which spanned some five years.

Compare Faneca Br. at 31, 39 with ECF No. 7151-1, at 14, 50. Indeed, it is deceptive for the

Faneca Objectors to argue that they are seeking “a reasonable percentage” (Faneca Br. at 31)

when they know (or ought to know) full well that any fee award to the team of lawyers who

litigated this case, secured the Settlement, and defended it is effectively capped at less than half

that percentage by the very terms of the Settlement. Likewise, the Faneca Objectors’ requested

award represents a 4.6 multiplier on their lodestar, which is almost 1.8 times the 2.6 multiplier

that Class Counsel would receive on their lodestar if the Court grants the full award that the latter

seek. Compare Faneca Br. at 48 with ECF No. 7151-1 at 14, 50, 67.

       It would be inequitable for objector counsel – who had a much more limited role in the

litigation overall and most of whose work was for naught – to receive a higher multiplier on their

lodestar and an award amounting to a much more generous fraction of their alleged contributions

than would Class Counsel. See Lonardo v. Travelers Indem. Co., 706 F. Supp. 2d 766, 815-16

(N.D. Ohio 2010) (where objector sought higher multiplier than that granted to class counsel,


                                                 53
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 65 of 77



court held multiplier unwarranted given objector’s and his counsel’s “very limited role in th[e]

litigation”); Park v. Thomson Corp., 633 F. Supp. 2d 8, 13 (S.D.N.Y. 2009) (denying multiplier

to objector’s counsel John Pentz (who is also counsel for objector Cleo Miller here (see ECF No.

7161); noting that class counsel’s multiplier “was based, inter alia, on class counsel’s

involvement with this action since filing the complaint . . . and the significant risks attendant to

the litigation,” whereas Pentz “did not appear in this action until three years later and the time

that he devoted to this matter spanned a far shorter interval”).

       Notably, the Faneca Objectors cite no case in which a court handed an award of fees to

objector counsel of the magnitude that they seek. To the contrary, their own cases undermine

their request. In In re Ikon Office Solutions, Inc., Securities Litigation, 194 F.R.D. 166 (E.D. Pa.

2000) (Faneca Br. at 48), this Court awarded a modest fee of $10,000 to the objectors out of

more than $32.4 million awarded to class counsel.           Id. at 197.   In Great Neck Capital

Appreciation Inv. P’ship, LP v. PricewaterhouseCoopers, LLP, 212 F.R.D. 400 (E.D. Wis. 2002)

(Faneca Br. at 48), the court awarded class counsel $3,045,000 out of a settlement fund of

$10,150,000, and rejected as excessive the objector’s request for a 10% cut of that fee award

(about half of the percentage the Faneca Objectors seek here), awarding them instead 5 percent

(or $152,500). Id. at 412, 416. In Dewey (Faneca Br. at 39-40), the 13.4% of the value added

by the objectors (again, a substantially lower percentage than what the Faneca Objectors seek

here) amounted to a modest award of under $105,000. Dewey, 909 F. Supp. 2d at 397. Finally,

the Faneca Objectors’ reliance on Lan v. Ludrof, No. 1:06CV114-SJM, 2008 WL 763763 (W.D.

Pa. Mar. 21, 2008) (Faneca Br. at 40), misfires because the 25% of the increased value that the

court awarded there was one-fourth of the $157,028.31 reduction of class counsel’s fees that

resulted when class counsel unilaterally lowered his fee request from 28% of the settlement fund



                                                 54
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 66 of 77



to 25% in response to the objector’s arguments. Thus, the court there gave the objector a small

slice of the total fee pot, amounting to just over $39,000. 2008 WL 763763, at **8, 30 & n.15.

       In short, if the Court determines that the Faneca Objectors should be granted some

measure of compensation for having added value to the Fairness Proceedings, any award must be

dramatically less than the $20 million they seek. They should be compensated, in an amount to

be determined by the Court in the exercise of its discretion, only for the responsibility that the

Court entrusted to them – to serve as liaison and coordinate the objectors’ presentations at the

Fairness Hearing, see Notice dated Nov. 4, 2014 (ECF No. 6344) – and their lodestar markedly

reduced to account for their many unsuccessful arguments and filings.               See generally

Institutionalized Juveniles v. Sec’y of Pub. Welfare, 758 F.2d 897, 925 (3d Cir. 1985) (“A court

has discretion to decide whether it is proper to adjust the lodestar by a general reduction of the

lodestar, by the complete disallowance of hours spent litigating wholly unsuccessful claims, or

by use of both methods.”).

       Moreover, no multiplier should be applied to the Faneca Objectors’ lodestar – and

certainly not the robust 4.6 multiplier they seek. As an alternative to (or even in addition to)

sharply reducing the number of hours in the Faneca Objectors’ lodestar, the Court should apply a

negative multiplier so as to adjust their lodestar for their many unsuccessful filings and

arguments. See In re Fine Paper Antitrust Litig., 751 F.2d 562, 600 (3d Cir. 1984) (district court

entitled to apply negative quality multiplier even after properly “eliminate[ing] from the lodestar

. . . so many hours for activities deemed not beneficial to the class”); Azizian, 2006 WL 4037549,




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       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 67 of 77



at *10 (recommending negative multiplier of .3 to objectors’ lodestar “based upon the limited

extent of their contributions”). 54

        2. The Armstrong Objectors’ Petition

        The Armstrong Objectors’ fee request is seemingly more modest. They seek just under

$600,000, in contrast to the $20 million requested by the Faneca Objectors, based on a smaller

lodestar and a renunciation of any claim to a multiplier. Armstrong Br. (ECF No. 7232), at 23,

28, 34; see also ECF Nos. 7232-1 to 7232-4 (declarations of counsel, setting forth lodestars).

Notwithstanding how they try to rewrite history and spin their role in the Final Approval

proceedings, however, the Armstrong Objectors have no claim whatsoever. Indeed, their fee

request (which, as the Faneca Objectors point out, is in large measure a knockoff of the latter’s

fee petition, see ECF No. 7366, at 2, 5) is shameless, for the path they blazed was destructive,

not constructive. Their only role was to try to derail the Settlement, a goal they pursued with

zeal. Importantly, their assertion that three of the five February 2015 modifications to the

Settlement stemmed from their arguments is bereft of merit.



        54
            Indeed, in non-class cases, this and other courts in this Circuit often apply a negative
multiplier where a litigant has achieved only limited success. E.g., Finch v. Hercules Inc., 941 F.
Supp. 1395, 1427 (D. Del. 1996) (reducing lodestar by 35% where plaintiff “did not obtain
excellent results in this case”); Sch. Dist. of Philadelphia v. Deborah A., No. 08-2924, 2011 WL
2681234, at *2, *4-5 (E.D. Pa. July 8, 2011) (reducing lodestar by 30% given limited success);
Spencer v. Wal-Mart Stores, Inc., No. 03-104-KAJ, 2005 WL 3654381, at *4 (D. Del. June 24,
2005) (negative multiplier of 75% given limited success), aff’d, 469 F.3d 311 (3d Cir. 2006);
Patriot Party of Pa. v. Mitchell, No. CIV. A. 93-2257, 1993 WL 313667, at *4 (E.D. Pa. Aug.
16, 1993) (applying .30 negative multiplier in light of “very limited” success); Decibus v.
Woodbridge Twp. Police Dep’t, Civ. A. No. 88-2926, 1991 WL 59428, at *6 & n.6 (D.N.J. Apr.
15, 1991) (negative multiplier of 0.5 to account “for limited success”); Vasquez v. S.S. Pennock
Co., Civ. A. No. 86-2288, 1987 WL 9781, at *2 (E.D. Pa. Apr. 21, 1987) (same); see generally
Hensley, 461 U.S. at 436 (“If . . . a plaintiff has achieved only partial or limited success, the
product of hours reasonably expended on the litigation as a whole times a reasonable hourly rate
may be an excessive amount. This will be true even where the plaintiff’s claims were
interrelated, nonfrivolous, and raised in good faith.”).

                                                56
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 68 of 77



            a. The Armstrong Objectors’ Role Was Not Constructive
       Before this Court, the Armstrong Objectors raised a multitude of alleged shortcomings to

the Settlement.     Among other things, they complained that numerous ailments are not

compensated, the Monetary Awards are insufficient, the Monetary Award offsets are flawed, the

“Death with CTE” cutoff date is irrational, the BAP participation requirements are onerous, the

creation of a designated pool of BAP physicians is unfair, the Settlement wrongly allows the

NFL unlimited appeals, the Settlement’s funding is inadequate, the Settlement does not take

scientific advances into consideration, the release of the NFL Parties is too broad, and the

Education Fund is an improper cy pres fund.           ECF No. 6233, at 10-35.        They threw the

proverbial plate of spaghetti against the wall, no doubt hoping that something might stick.

       When this kitchen sink strategy did not work and the Court overruled their objections –

which was not surprising given their lack of merit 55 – the Armstrong Objectors took a different

tack on appeal. Before the Third Circuit, they challenged the deal as structurally infirm and

inadequate by making Class Counsel the focus of their wrath, arguing that Class Counsel had

sacrificed the best interests of the Class by engaging in self-dealing.

       Specifically,   the   Armstrong     Objectors    contended     that   Class   Counsel   were

“compromised,” having “bargained away” Class Members’ claims by securing a “sub-optimal”


       55
           By way of example, the Armstrong Objectors asserted that the Monetary Awards are
insufficient by dividing Class Counsel’s projected payout of the MAF by the number of Class
Members who will likely receive Monetary Awards in order to come up with an estimated
Monetary Award of $135,000-$225,000 per Class Member. See ECF No. 6233, at 14-15. That
was a dubious exercise because (a) the MAF is uncapped and therefore there is no dividend to be
divided so as to arrive at a quotient (i.e., a “typical” award), and (b) it lumped together Monetary
Awards as one-size-fits-all compensation, ignoring the matrix that individually calibrates awards
by degree of neurological impairment, age, and time played in the NFL and affiliates, and,
applies offsets such as a stroke suffered prior to a Qualifying Diagnosis. See Settlement
Agreement § 6.7(b)-(e) & Ex. A-3, ECF No. 6481-1, at 40-41, 122.



                                                 57
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 69 of 77



deal in return for a “windfall,” “red-carpet treatment,” and a “free pass” on their fees, thus

“effectively insulat[ing] [their] fees from scrutiny” and “thwarting judicial review by design” –

and proving that the Class had been inadequately represented and denied due process. See

Seeger Supp. Decl., Ex. CC, at 21, 25, 27, 46-52 (Armstrong Objectors’ corrected opening Third

Circuit brief; internal quotation marks omitted); see also id. at 21, 52 (innuendo that Class

Counsel could not plausibly have done enough work to justify a $112.5 million award). Almost

at the eleventh hour, the Armstrong Objectors sandbagged Class Plaintiffs with an attack on

Subclass Counsel Arnold Levin, which they sprung for the first time in their reply brief,

insinuating that Mr. Levin had a foot in both Subclass camps and therefore a fatal conflict of

interest. See id., Ex. CC, at 4; see also id., Ex. EE (Class Counsel’s response to Third Circuit

motion seeking to take judicial notice of complaints already in the record, noting that alleged

conflict had never been raised during Final Approval proceedings and was, in any case,

unavailing). The Third Circuit rejected this eleventh-hour attack as meritless. See In re NFL

Players’ Concussion Injury Litig., 821 F.3d at 430.

       Despite ample precedent supporting it, 56 the Armstrong Objectors maintained that the

bifurcation of the Final Approval and fee petition proceedings was per se reversible error, and

they accused this Court of having “abdicated its responsibility” in permitting bifurcation. Seeger

Supp. Decl., Ex. CC at 3, 25, 47-51. 57



       56
           See In re NFL Players Concussion Injury Litig., 821 F.3d at 445 (“[T]he practice of
deferring consideration of a fee award is not so irregular.”) (citing treatise and cases, including In
re Diet Drugs Prods. Liab. Litig., 582 F.3d 524, 534-35 (3d Cir. 2009)).
       57
           Amusingly, one of the arguments that they advanced against the bifurcation of Final
Approval and attorneys’ fees proceedings was that, if the two are cleaved, class members have
no incentive to challenge a fee petition. See id., Ex. CC at 25, 51. The filing of over a dozen
objections to Class Counsel’s February 2017 fee petition exposes that contention for what it was:
                                                                      (Footnote continued . . .)

                                                 58
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 70 of 77



            b. Causing Nearly Two Years of Delay Conferred No Benefit on the Class
       Moreover, unlike the Faneca Objectors – who at least were sensible enough to recognize

(and have acknowledged here) that there was no issue worthy of a petition for certiorari, and

delayed relief to the Class by only a year, comprehending that an attempt at Supreme Court

review would only further delay Class Members’ receipt of Settlement benefits, see Faneca Br. at

20 & n.23 – the Armstrong Objectors showed no such insight or concern and, far from bowing

out, dug in their heels further and prolonged their dubious challenges no matter the adverse

consequences to Class Members.

       In the Third Circuit, the Armstrong Objectors opposed Class Counsel’s efforts to

expedite the objector appeals. See Seeger Supp. Decl., Ex. FF at 2 (Armstrong Objectors’

opposition to motion to expedite appeals, asserting that Class Plaintiffs “have not presented any

reasons justifying expediting the briefing in this case”); see also ECF No. 7366, at 7 n.5 (Faneca

Objectors’ preliminary response to other objector fee petitions, pointing out Armstrong

Objectors’ resistance). After the Third Circuit affirmed this Court’s Final Approval of the

Settlement, they then delayed the Settlement’s Effective Date by almost five additional months

through their pursuit of a baseless Supreme Court appeal. 58 The Armstrong Objectors sought no


just another objection for the sake of raising objections. That, of course, begs the question of
what the ultimate aim might have been.
       58
            The Armstrong Objectors’ certiorari petition and reply in support thereof merely
rehashed the same vitriol that had fallen flat in the Third Circuit. They attacked the Settlement
as “lopsided” and “a zero-sum game, entailing essential allocation decisions designed to confine
compensation”; repeated their accusations against Mr. Levin and the bifurcation of the Final
Approval and fee petition proceedings; maintained “that the rights of future claimants had been
used as bargaining chips to benefit current claimants and their lawyers”; and asserted that “the
plaintiffs’ lawyers . . . [had] paper[ed] over” a fatal intra-class conflict by devising the separate
Subclasses only after the Settling Parties had agreed upon the framework of the Settlement.
Seeger Supp. Decl., Ex. GG, at 2, 5-6, 9-10, 25-30 (certiorari petition); id., Ex. HH, at 9 (reply
in support of certiorari petition) (internal quotation marks omitted).

                                                 59
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 71 of 77



fewer than two extensions (on top of the generous 90 days provided by statute, see 28 U.S.C. §

2101(c)) to file their certiorari petition. See id., Ex. II (Supreme Court docket entries noting

Justice Alito’s Orders granting extension requests).

       Far from acknowledging any harm (or even inconvenience) that they inflicted on Class

Members (many of whom are ill and in financial straits) – who, on account of the Armstrong

Objectors’ groundless appeals, had to wait almost two years after this Court’s Final Approval

determination to see the start of the Settlement’s effectuation – the Armstrong Objectors add

insult to injury by proclaiming that Class Members benefitted from this long delay in that they

reaped a “Collateral Time Benefit” that allowed them to go out and obtain allegedly unbiased

medical evidence to support their Monetary Award claims. Armstrong Br. at 1, 3, 9-10, 13-15.

       This remarkable and condescending assertion that Class Members actually owe the

Armstrong Objectors a round of thanks for having hindered the Settlement’s effectuation for

nearly two years rests on the unfounded assumption that the pool of MAF physicians will be

under the thumb of the NFL and predisposed to reject claims. The Armstrong Objectors offer

not a scintilla of evidence to support this attack on the integrity of the MAF physicians, save a

vaporous statement that Class Members “distrust” the NFL. See id. at 14. It is the Claims

Administrator, however, not the NFL, who will select the Qualified MAF Physicians, and if

Class Counsel have reasonable grounds, they may withhold approval of physicians whom the

Claims Administrator selects. See Settlement Agreement § 6.5(a), ECF No, 6481-1, at 38. The

Armstrong Objectors’ suggestion that Class Counsel will collude with the NFL to “thrust”

untrustworthy physicians upon Class Members (Armstrong Br. at 14) is vacuous.

       In sum, the Armstrong Objectors’ “Collateral Time Benefit” argument is a poor

smokescreen that fails to mask the many months of delays that they needlessly inflicted on Class



                                                60
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 72 of 77



Members through their unrelenting meritless assaults on the Settlement. Perhaps the Armstrong

Objectors should have asked Plaintiff Kevin Turner, who died from ALS in March 2016, during

the pendency of the meritless Third Circuit appeals, how he felt about this “Collateral Time

Benefit.” Or perhaps they should ask Class Member Rickey Dixon – who suffers from ALS

(ECF No. 7299, at 2, 5) and whose financial distress necessitated his obtaining a loan against his

anticipated recovery from a third-party litigation funding company, which accrues interest at a

usurious rate (see ECF No. 7306-2, at 7) – how much he appreciates it. Simply stated, this

argument is as offensive as it is astounding, and deserves short shrift.

           c. The Armstrong Objectors Wrongly Take Credit for Three Post-Fairness
              Hearing Modifications to the Settlement
       Nor is there any merit to the Armstrong Objectors’ assertion that the three modifications

“mirror[ed]” improvements that they had suggested. Armstrong Br. at 7.

       To begin with, the Armstrong Objectors claim credit for several of the same post-hearing

modifications for which the Faneca Objectors maintain that they were the impetus, but they do

not even bother to address the Faneca Objectors’ contentions, even though the latter’s fee

petition was filed a good seven weeks before their own. Compare Faneca Br. (filed Jan. 11,

2017) at 21-22, 26-28 (taking credit for “uncapping” of BAP, later “Death with CTE” cutoff

date, and appeal fee hardship waiver) with Armstrong Br. (filed Mar. 1, 2017) at 10-13 (same).

       Setting that aside, the record plainly belies the Armstrong Objectors’ argument. Indeed,

it is ironic that the Armstrong Objections now tout the three modifications. In their supplemental

objections, they had scoffed at them as insignificant, sneering that the Settling Parties had once

again “fumbled the ball,” and that “[t]he only relief granted by the amendments . . . [wa]s for the

benefit of the NFL Parties.” ECF No. 6503, at 2.




                                                 61
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 73 of 77



       Turning to each of the three modifications, the Armstrong Objectors take credit for the

change to the cutoff date for Death with CTE awards from the date of preliminary to that of final

approval, Armstrong Br. at 11, but in their objections they had argued that the Settlement should

“be revised to delete the date parameters” altogether, not that the cutoff date be pushed back.

See ECF No. 6233, at 20. In their supplemental objections, they argued that none of their Death

with CTE arguments had even been addressed by the February 2015 amendments (ECF No.

6503, at 3). Thus, despite their own past statements, they now divine a causal link between their

arguments and this change to the Settlement Agreement.

       As for the appeal fee hardship waiver provision, here, too, the Armstrong Objectors again

grab credit (Armstrong Br. at 8) for a change they never even sought, much less brought about.

They had never argued for such a hardship waiver. Rather, they had argued more broadly that

there should be no fee at all. See ECF No. 6233, at 25. In their supplemental objections, they

dismissed the hardship waiver in the amended Settlement, arguing that “requiring a $1000

appellate fee for any reason is mean spirited.” Id. at 3 (emphasis added). 59

       Similarly, the Armstrong Objectors now declare that their objections produced the

revision to the Settlement relating to the guaranteed funding of BAP examinations (Armstrong

Br. at 10), but in their objections they had never expressed concern that there would not be

sufficient funding so that every eligible Class Member receives a BAP examination. See ECF

No. 6533, at 20-21. Even if their objections were liberally construed as expressing concern

about BAP funding limitations, the Armstrong Objectors themselves saw the lifting of the


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          It is not. As Class Counsel have previously explained, the appeal fee is reasonable and
designed to discourage injudicious appeals. ECF No. 6423-1, at 27. Besides, the appeal fee is
refunded to the Class Member if his appeal is successful. Settlement Agreement § 9.6(a), ECF
No. 6481-1, at 51.



                                                 62
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 74 of 77



funding cap as a modification without any significance, declaring that the BAP “essentially

remain[ed] unchanged,” and maintained that it continued to be flawed for the reasons they had

previously expressed. ECF No. 6503, at 3.

       Because the Armstrong Objectors have failed to demonstrate that they brought about the

improvements to the Settlement in question, the Court should deny their fee request. See Spark,

289 F. Supp. 2d at 514 (denying fees “[g]iven the absence of evidence that objectors’ actions

conferred a benefit upon the class”); In re Diet Drugs, 2002 WL 32154197, at *15 (denying fees

where objectors submitted no proof that their objections caused the parties to negotiate

amendment to settlement); In re AT&T Corp. Sec. Litig., No. 00-5364 (GEB), 2006 WL

2786945, at *2 (D.N.J. Sept. 26, 2006) (objectors’ counsel failed “to show that they improved

the Class’s recovery in any way”).

       In short, the Armstrong Objectors contributed nothing – and deserve nothing.

       3. The Jones Objectors’ Petition

       Finally, two minor objectors, Preston and Katherine Jones (“the Jones Objectors” 60),

represented by James T. Capretz, also filed a petition for an award of attorneys’ fees (ECF No.

7364) (“Jones Br.”). They claim to have spurred the post-Fairness Hearing amendment to the

Settlement that credited Class Members’ time spent playing in NFL Europe towards Eligible

Seasons. Jones Br. at 1-4, 6-8. They ascribe a value of $20 million to this modification, out of

which they seek 1.5%, or an award of $300,000. Id. at 4-6, 11.



       60
          These objectors should not be confused with the faction known as the Jimmie Jones
Objectors, which consisted of 16 objectors in this Court represented by the law firm of
Zuckerman Spaeder LLP (see ECF No. 6242), three of whom filed one of the twelve
unsuccessful Third Circuit Appeals challenging this Court’s Final Approval decision. See ECF
No. 6559; In re NFL Players’ Concussion Injury Litig., 821 F.3d at 410, 418.



                                              63
       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 75 of 77



       To their credit, the Jones Objectors did not prolong Class Members’ misery by pursuing

meritless appeals of the Court’s Final Approval decision. Nor did they take the low road and

resort to the desperate strategy of sullying Class Counsel. Nevertheless, they, too, engage in a

certain measure of historical revisionism by implying that their only objection to the Settlement

was the concern that Class Members be credited for time playing in NFL Europe, see Jones Br.

at 2, when the fact is that they joined in other objections (see ECF No. 6235, at 2).

       In any event, a great deal of ink need not be spilled here. Although the Jones Objectors

take credit for the February 2015 amendment to the Settlement to include NFL Europe playing

time towards Eligible Seasons, at least four other objectors, including the Faneca Objectors,

raised that issue, and the latter did so a full week before the Jones Objectors. See In re NFL

Players’ Concussion Injury Litig., 307 F.R.D. at 410 n.76 (enumerating objectors who raised this

issue). 61 Thus, the Jones Objectors contributed nothing unique to the Rule 23(e) proceedings.

The Jones Objectors are not entitled to fees for presenting an objection also made by several

others. See Section IV.B.1.b, supra (citing cases). A $300,000 award for an unoriginal 4-1/2

page objection (ECF No. 6235 passim) is unwarranted and would be unreasonable. Accordingly,

the Court should also deny the Jones Objectors’ petition.




       61
           The Faneca Objectors filed their objections on October 6, 2014. ECF No. 6201.
(They subsequently supplemented them. ECF No. 6232). Both the Armstrong and the Jones
Objectors filed theirs eight days later, on October 14, 2014. ECF Nos. 6233, 6235.

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       Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 76 of 77



V. CONCLUSION

       For the foregoing reasons and those set forth in Co-Lead Class Counsel’s opening

memorandum, the Court should grant Class Counsel the requested $112.5 million in attorneys’

fees and reimbursement of costs and expenses; (2) adopt a 5% set-aside on all Monetary and

Derivative Claimant Awards; (3) grant the requested Case Contribution Awards to the three

Subclass Representatives (or, as appropriate, to their estates); and (4) deny the Faneca,

Armstrong, and Jones Objectors’ fee petitions or, in the alternative, make an award solely to the

Faneca Objectors, and then only for their work as liaison on behalf of all objectors, in an amount

to be determined by the Court.

Date: April 10, 2017                                Respectfully submitted,

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                                               65
      Case 2:12-md-02323-AB Document 7464 Filed 04/10/17 Page 77 of 77



                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record via the

Court’s ECF system on April 10, 2017.




                                                          /s/ Christopher A. Seeger
                                                          Christopher A. Seeger




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